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                        Exhibit 
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 1                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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 3
 4
     THERESA SWEET, et al.,
 5
                     Plaintiffs,                 No. 3:19-cv-03674-WHA
 6
           v.
 7
     MIGUEL CARDONA, in his official capacity    SETTLEMENT AGREEMENT
 8
     as Secretary of Education, and the UNITED
 9   STATES DEPARTMENT OF EDUCATION

10
11                   Defendants.

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 1   I.        INTRODUCTION
 2             WHEREAS, in this class action the Plaintiffs assert that the U.S. Department of Education
 3   (“Department”) has (i) unreasonably delayed and unlawfully withheld decisions on pending
 4   “borrower defense” claims, i.e., claims for relief from certain federal student loan obligations
 5   based on institutional misconduct; (ii) issued unlawful notices denying certain borrower defense
 6   claims; and (iii) adopted unlawful policies governing the process of evaluating borrower defense
 7   claims;
 8             WHEREAS, Defendants, the Department and its Secretary, Miguel Cardona, in his official
 9   capacity, deny any wrongdoing and deny that Plaintiffs are entitled to the relief they have sought
10   in this Action;
11             WHEREAS, Defendants and Plaintiffs (referred to herein collectively, where appropriate,
12   as “the Parties”) now mutually desire to avoid the delay, uncertainty, inconvenience and expense
13   of protracted litigation, and have determined to settle this Action, including all claims that
14   Plaintiffs, the certified Class (as defined below), and the members of that Class have brought in
15   this case;
16             NOW, THEREFORE, in reliance upon the representations, mutual promises, covenants,
17   releases, and obligations set forth in this Settlement Agreement, and for good and valuable
18   consideration, the Parties hereby stipulate and agree to compromise, settle, and resolve this case
19   on the following terms and conditions.
20   II.       DEFINITIONS
21             Unless otherwise noted, the following definitions apply in this Settlement Agreement, and
22   for purposes of this Settlement Agreement alone.
23             A.      Action means the litigation styled Sweet, et al. v. Cardona, et al., No. 3:19-cv-
24                     3674-WHA (N.D. Cal.).
25             B.      Agreement means this Settlement Agreement, including any attached exhibits.
26             C.      Borrower defense application means a request by a Direct Loan or Federal Family
27                     Education Loan Program borrower for relief from his or her repayment obligations
28                     with respect to those loans based on the alleged misconduct of the borrower’s


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 1         school. A borrower’s application can include multiple claims of alleged misconduct
 2         on behalf of his or her school.
 3    D.   Borrower defense claim means an allegation made for relief from a borrower’s
 4         repayment obligations in a borrower defense application.
 5    E.   Class or Class Members are the members of the class that has been certified by
 6         this Court and refers to individuals who meet the criteria set forth in Section II
 7         below. When used in this Agreement, the terms Class and Class Members refer,
 8         individually and collectively, to the Plaintiffs, the Class, and each Member of the
 9         Class.
10    F.   Class Counsel or Plaintiffs’ Counsel refers to Plaintiffs’ attorneys of record in this
11         Action.
12    G.   Class Notice means the document attached hereto as Exhibit A, which shall be
13         distributed pursuant to subsection X.B, below.
14    H.   Court means the U.S. District Court for the Northern District of California.
15    I.   Department refers to the U.S. Department of Education.
16    J.   Direct Loan means and refers to a loan made pursuant to the William D. Ford
17         Federal Direct Loan Program, 20 U.S.C. § 1087a et seq.
18    K.   Effective Date means the date upon which, if this Agreement has not been voided
19         under Section XIII, the Final Judgment approving this Agreement, entered by the
20         Court in the form attached hereto as Exhibit B, becomes non-appealable, or, in the
21         event of an appeal by a Class Member based upon a timely filed objection to this
22         Agreement, upon the date of final resolution of said appeal. When this Agreement
23         refers to the date on which the Agreement became “Effective,” such date is the
24         Effective Date.
25    L.   Execution Date means the date upon which all Parties to this Agreement, and/or
26         their counsel of record, have signed the Agreement.
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 1    M.   Fairness Hearing means a hearing held by the Court at which time the Court will
 2         determine whether this Agreement should be approved under Federal Rule of Civil
 3         Procedure 23(e).
 4    N.   Final Approval Date refers to the date on which the Court enters Final Judgment
 5         approving this Agreement in the form attached hereto as Exhibit B.
 6    O.   Final Decision refers to a decision by the Department either approving or denying
 7         settlement relief to a borrower under the terms of this Agreement.
 8    P.   FFEL means and refers to a loan made pursuant to the Federal Family Education
 9         Loan Program, 20 U.S.C. §§ 1071-1087-4.
10    Q.   Form Denial Notice refers to a notice sent by the Department to a Class Member,
11         in substantially the form of one of the documents submitted by Defendants to the
12         Court in this Action at ECF Nos. 116-1, 116-2, 116-3, and 116-4.
13    R.   FSA is the Department’s Federal Student Aid office.
14    S.   Full Settlement Relief means (i) discharge of all of a Class Member’s Relevant
15         Loan Debt, (ii) a refund of all amounts the Class Member previously paid to the
16         Department toward any Relevant Loan Debt (including, but not limited to, Relevant
17         Loan Debt that was fully paid off at the time that borrower defense relief is granted),
18         and (iii) deletion of the credit tradeline associated with the Relevant Loan Debt.
19    T.   Involuntary Collection Activity means any attempt by the Department or its
20         agents to collect payments toward the Relevant Loan Debt (in whole or in part), as
21         defined below, through involuntary means from a borrower in default, including
22         but not limited to certifying the borrower’s debts for collection through the
23         Treasury Offset Program and/or administrative wage garnishment. Any activity by
24         the Department or its agents that reduces the borrower’s Relevant Loan Debt
25         without any action by the borrower or which eliminates a default on the loan
26         without action by the borrower is not an Involuntary Collection Activity.
27    U.   Plaintiffs, for purposes of Section V, includes Post-Class Applicants as the term is
28         defined in Section IV.D.


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 1           V.      Preliminary Approval Date refers to the date on which the Court enters a
 2                   preliminary approval order, as set forth in subsection X.A.
 3           W.      Relevant Loan Debt refers to Direct Loans or FFEL loans associated with the
 4                   school that is the subject of the Class Member’s borrower defense application. That
 5                   debt includes the original principal of the affected federal student loan plus any and
 6                   all interest and fees that accrued or were incurred on that loan.
 7           X.      School Group refers to the name of a multi-institution organization based on
 8                   ownership data and/or multi-campus institution as defined in FSA’s Postsecondary
 9                   Education Participants System (“PEPS”), to the extent that data is included in the
10                   borrower defense review platform.
11           Y.      Written Notice is provided when the Department sends an email to the relevant
12                   individual’s email address or, where the Department does not have such an email
13                   address available or becomes aware that email is undeliverable to the email address
14                   on file, the Department sends a copy of the relevant communication to the
15                   individual’s last known mailing address.
16   III.    CLASS
17           A.      Pursuant to Federal Rule of Civil Procedure 23(b)(2), the Court has certified a
18                   plaintiff class consisting of all people who borrowed a Direct Loan or FFEL loan
19                   to pay for a program of higher education, who have asserted a borrower defense to
20                   repayment to the Department, whose borrower defense has not been granted or
21                   denied on the merits, and who is not a class member in Calvillo Manriquez v.
22                   DeVos, No. 3:17-cv-7210 (N.D. Cal.). See ECF No. 46 (Oct. 30, 2019). In this
23                   Agreement, individuals who meet this class definition as of the date of class closure
24                   are referred to as “the Class” or “Class Members.”
25           B.      For the purposes of this Agreement, the Parties agree that the Class includes
26                   individuals who are members of the Plaintiffs’ proposed “§ 555(e) Subclass,”
27                   which the Parties agree includes all members of the class certified in this case on
28                   October 30, 2019 (ECF No. 46) whose borrower defense applications were denied


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 1                 between the date of class certification and the Execution Date. See Pls.’ Suppl.
 2                 Compl., ECF No. 198 ¶ 430 (May 4, 2021).
 3          C.     As of the Effective Date, all Class Members are bound by the terms of this
 4                 Agreement.
 5          D.     The Class is closed as of the Execution Date.
 6   IV.    DEFENDANTS’ CONSIDERATION
 7          In consideration for the promises of Plaintiffs set forth in this Agreement, Defendants agree
 8   as follows:
 9          A.     Relief for applications meeting certain school criteria.
10                 1.      No later than one year after the Effective Date, Defendants will effectuate
11                         Full Settlement Relief for each and every Class Member whose Relevant
12                         Loan Debt is associated with the schools, programs, and School Groups
13                         listed in Exhibit C hereto. If any such Class Member receiving relief under
14                         this Paragraph IV.A previously received a Form Denial Notice, the
15                         provision of Full Settlement Relief will be deemed to rescind that Form
16                         Denial Notice.
17                 2.      Class Members shall be eligible for this form of relief regardless of whether
18                         the Class Member is a member of the § 555(e) Subclass.
19                 3.      Defendants shall provide Written Notice of this relief to each qualifying
20                         Class Member no later than 90 calendar days after the Effective Date. The
21                         notice shall specify that the Class Member will receive Full Settlement
22                         Relief, as defined in this Agreement, and need not take any additional action
23                         to receive this relief. The notice shall also specify that the Class Member’s
24                         Relevant Loan Debt will remain in forbearance or stopped collection status
25                         pending the effectuation of relief. If the notice is sent by email and it
26                         bounces back, Defendants will have an additional 90 calendar days to send
27                         the notice by first class mail to the last known mailing address.
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 1         4.     The Parties acknowledge that some Class Members may be eligible for
 2                discharges of their loans, outside of this Agreement, based on the
 3                misconduct of schools they attended, and that nothing in this Agreement
 4                shall prevent the Department from effectuating such relief outside this
 5                Agreement. The Department agrees, however, that any such Class Members
 6                who are deemed eligible for such relief outside this Agreement shall receive
 7                Full Settlement Relief pursuant to this Agreement.
 8         5.     If the Department’s borrower defense or loan data includes conflicting
 9                evidence which raises a substantial question as to whether a Class Member’s
10                Relevant Loan Debt is associated with a program, school, or School Group
11                listed in Exhibit C, the question will be resolved in favor of the Class
12                Member (i.e., in favor of granting relief).
13    B.   Rescission of Form Denial Notices.
14         1.     For Class Members who do not receive relief pursuant to Paragraph IV.A,
15                above, but previously received a Form Denial Notice, Defendants, no later
16                than 120 calendar days after the Effective Date, will provide Written Notice
17                to those Class Members that their denials have been rescinded and that their
18                borrower defense applications are again under consideration.
19         2.     For purposes of Paragraph IV.C.3, the Department will deem the
20                applications of Class Members who previously received a Form Denial
21                Notice to have been pending since the original date of submission.
22    C.   Process and timeline for issuing decisions on remaining Class applications.
23         1.     Defendants will apply the following procedures to their review of borrower
24                defense applications submitted by Class Members who did not receive relief
25                pursuant to Paragraph IV.A:
26                 i.    Defendants will review the borrower defense application and any
27                       attachments included by the Class Member to determine whether the
28                       application states a claim that, if presumed to be true, would assert


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 1                        a valid basis for borrower defense relief under the standards in the
 2                        borrower defense regulations published by the Department on
 3                        November 1, 2016 (81 Fed. Reg. 75,926). If it does, Defendants
 4                        will provide that Class Member Full Settlement Relief.
 5               ii.      If a Class Member’s borrower defense application reviewed under
 6                        this Paragraph IV.C alleges a misrepresentation or omission that, if
 7                        presumed to be true, would assert a valid basis for borrower defense
 8                        relief, Defendants will presume that the Class Member reasonably
 9                        relied on that misrepresentation or omission regardless of whether
10                        the Class Member alleges such reliance in his or her application.
11              iii.      No borrower defense application reviewed under this Paragraph
12                        IV.C will be denied on the basis of insufficient evidence.
13              iv.       Defendants will not apply any statute of limitations to borrower
14                        defense applications reviewed under this Paragraph IV.C.
15         2.    Defendants will issue any Class Member whose borrower defense
16               application is reviewed under this Paragraph IV.C a “settlement relief
17               decision,” a “revise and resubmit notice,” or a “denial notice,” as defined
18               below.
19                i.      A “settlement relief decision” notifies a Class Member that his or
20                        her borrower defense application has been approved under the terms
21                        of this Settlement Agreement and that the Class Member will
22                        receive Full Settlement Relief.
23               ii.      A “revise and resubmit notice” notifies a Class Member that his or
24                        her borrower defense application is deficient, provides instructions
25                        on how to revise and resubmit his or her application, and advises the
26                        Class Member that he or she may do so within 6 months of the date
27                        of the notice. The notice will state that if the Class Member does not
28                        submit a revised application within 6 months, the notice itself will


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 1                        serve as Defendants’ final decision of denial and that the Class
 2                        Member has the right to seek review of such decision in federal
 3                        district court.
 4                iii.    A “denial decision” will only be issued to Class Members whose
 5                        applications are denied after having resubmitted their application
 6                        following receipt of a “revise and resubmit notice,” as defined in the
 7                        preceding subparagraph. A denial decision will explain the reasons
 8                        the application was denied and apprise the recipient of his or her
 9                        right to seek review of the decision in federal district court.
10          3.     Defendants will issue decisions to Class Members whose applications are
11                 reviewed under this Paragraph IV.C according to the timelines set forth
12                 below. For purposes of this subparagraph, a “decision” refers to either a
13                 “settlement relief decision” or a “revise and resubmit notice,” as defined in
14                 Paragraph IV.C.2.
15                  i.    For any application submitted between January 1, 2015 and
16                        December 31, 2017, Defendants will issue a decision no later than 6
17                        months after the Effective Date.
18                 ii.    For any application submitted between January 1, 2018 and
19                        December 31, 2018, Defendants will issue a decision no later than
20                        12 months after the Effective Date.
21                iii.    For any application submitted between January 1, 2019 and
22                        December 31, 2019, Defendants will issue a decision no later than
23                        18 months after the Effective Date.
24                iv.     For any application submitted between January 1, 2020 and
25                        December 31, 2020, Defendants will issue a decision no later than
26                        24 months after the Effective Date.
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 1               v.        For any application submitted between January 1, 2021 and the
 2                         Execution Date, Defendants will issue a decision no later than 30
 3                         months after the Effective Date.
 4               vi.       If a Class Member has submitted more than one borrower defense
 5                         application, the earliest submitted application will control for
 6                         purposes of the timelines set forth above.
 7          4.   Defendants will issue a final decision to any Class Member who resubmits
 8               his or her application after receiving a “revise and resubmit notice” no later
 9               than 6 months after Defendants receive the Class Member’s resubmission.
10               For purposes of this subparagraph IV.C.4, a “final decision” refers to either
11               a “settlement relief decision” or a “denial decision” as defined in Paragraph
12               IV.C.2.
13          5.   Class Members shall be eligible for the relief set forth in this Paragraph
14               IV.C regardless of whether the Class Member is a member of the § 555(e)
15               Subclass.
16          6.   The decisions required by this Paragraph IV.C shall be sent by Written
17               Notice, as defined in this Agreement.
18          7.   The Relevant Loan Debt for each Class Member eligible under this section
19               will remain in forbearance or stopped collection status either until he or she
20               receives Full Settlement Relief or until the Department’s decision denying
21               the Class Member’s claim becomes final pursuant to either Paragraph
22               IV.C.2.ii or Paragraph IV.C.2.iii, as applicable. For this period of
23               forbearance or stopped collection status, the Department will remove any
24               interest that accrues on the Relevant Loan Debt.
25          8.   If a Class Member has not received a timely decision required under
26               Paragraphs IV.C.3 and IV.C.4, as applicable, that Class Member shall
27               receive Full Settlement Relief. Defendants shall provide the affected Class
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 1                 Member with notice that the Class Member will receive this relief within 60
 2                 calendar days following the expiration of the applicable deadline.
 3          9.     Defendants will effectuate relief for any Class Member entitled to
 4                 settlement relief pursuant to Paragraphs IV.C.3, IV.C.4, or IV.C.8, as
 5                 applicable, no later than one year after the date that Defendants provide that
 6                 Class Member Written Notice of the settlement relief decision.
 7    D.    Relief for Certain Post-Class Applicants.
 8          1.     If an individual submits a borrower defense application after the Execution
 9                 Date (i.e., the date the class closes), but before the Final Approval Date,
10                 such individual is a Post-Class Applicant. Defendants will issue a final
11                 decision on the merits of a Post-Class Applicant’s application no later than
12                 36 months after the Effective Date.        In making these decisions, the
13                 Department will apply the standards in the borrower defense regulations
14                 published by the Department on November 1, 2016 (81 Fed. Reg. 75,926).
15          2.     If a Post-Class Applicant has not received a timely decision as required
16                 under Paragraph IV.D.1, that applicant shall receive Full Settlement Relief.
17                 Defendants shall provide the affected Post-Class Applicant with notice that
18                 the applicant will receive this relief within 60 calendar days following the
19                 expiration of the applicable deadline.
20          3.     Defendants will effectuate relief for any Post-Class Applicant entitled to
21                 settlement relief pursuant to Paragraphs IV.D.1 and IV.D.2 no later than one
22                 year after the date that Defendants provide that applicant Written Notice of
23                 the settlement relief decision.
24    E.    Class Member informational webpage. The Department will establish a webpage
25          on its studentaid.gov website providing general information about this Agreement
26          and links to copies of the Agreement and related Court documents. The webpage
27          will be available to the public within 30 calendar days after the Preliminary
28          Approval Date and will be updated no later than 30 calendar days after the Effective


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 1          Date to include information about how Class Members can contact the Department
 2          if the Class Member has questions regarding their borrower defense application.
 3    F.    Effectuating relief.
 4          1.     Defendants have effectuated relief for purposes of Paragraphs IV.A, IV.C,
 5                 and IV.D when they and their loan servicers have taken all steps necessary
 6                 to discharge the Relevant Loan Debt of the Class Member (or Paragraph
 7                 IV.D. Post-Class Applicant), including but not limited to (1) discharging
 8                 any interest that accrued while the borrower defense application was
 9                 pending; (2) determining if the Class Member (or Paragraph IV.D Post-
10                 Class Applicant) is entitled to any refund, and if so, issuing refund check(s)
11                 for payment of that refund; (3) if the Class Member’s (or Paragraph IV.D
12                 Post-Class Applicant’s) Relevant Loan Debt was previously in default,
13                 removing such debt from default status; and (4) requesting the deletion of
14                 the relevant tradeline.
15          2.     Class Members (or Paragraph IV.D Post-Class Applicants) who receive
16                 relief under Paragraphs IV.A, IV.C, or IV.D shall not be required to take
17                 steps to consolidate any Relevant Loan Debt into a Direct Loan to receive
18                 the relief to which they are entitled pursuant to those Paragraphs.
19                 Defendants shall take all necessary steps to ensure that other loan holders
20                 effectuate the required relief.
21    G.    Reporting Requirement.
22          1.     Within 30 calendar days after the Effective Date, Defendants will provide
23                 Plaintiffs with, as of the Final Approval Date, (i) the total number of Class
24                 Members, (ii) the total number of Class Members the Department has
25                 determined are eligible for Full Settlement Relief pursuant to Paragraph
26                 IV.A; (iii) the total number of Class Members who must receive decisions
27                 pursuant to Paragraph IV.C; and (iv) the total number of Class Members
28                 and Post-Class Applicants who must receive decisions by each deadline set


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 1               forth in Paragraph IV.C.3(i) through (v) and Paragraph IV.D, respectively,
 2               and a schedule of the dates certain by which such decisions must be received
 3               pursuant to these paragraphs.
 4          2.   Defendants will submit quarterly reports to Plaintiffs documenting their
 5               progress toward fulfilling their obligations under Paragraphs IV.A, IV.C,
 6               and IV.D of this Agreement. Defendants will submit these reports to
 7               Plaintiffs’ Counsel via electronic mail and will post those reports publicly
 8               on their Federal Student Aid website.
 9          3.   The first quarterly report shall be submitted 120 calendar days after the
10               Effective Date, unless that day falls on a weekend or Federal holiday, in
11               which case the report shall be submitted on the next business day. The
12               quarterly reports shall be submitted every 90 calendar days thereafter,
13               subject to the same exceptions where the 90th day falls on a weekend or
14               Federal holiday.
15          4.   The quarterly reports described herein shall contain the information listed
16               below. The first report will reflect progress Defendants have made since the
17               Effective Date and later reports will reflect the progress Defendants made
18               from the last date reported in the prior report to the end of each reporting
19               period. The first reporting period will start on the Effective Date. Each
20               subsequent reporting period will start on the last date for which progress
21               was reported in any previous report. Each reporting period shall exclude a
22               period not exceeding 30 calendar days immediately preceding the
23               submission of a report, during which Defendants pull, confirm, and validate
24               the data provided in each report.
25                i.    The total number of Class Members with pending borrower defense
26                      applications (which number shall include members of the § 555(e)
27                      Subclass);
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 1                ii.     The total number of settlement relief decisions, revise and resubmit
 2                        notices, and denial decisions, as defined in Paragraph IV.C.2, that
 3                        Defendants have issued to Class Members pursuant to Paragraph
 4                        IV.C;
 5               iii.     The number of Class Members who received settlement relief
 6                        decisions; the number of Class Members who received “revise and
 7                        resubmit notices”; and the number of Class Members who received
 8                        final denial decisions during the reporting period; and
 9                iv.     The total number of Class Members for whom Defendants have
10                        effectuated relief pursuant to Paragraph IV.A, including the number
11                        of Class Members for whom Defendants effectuated relief during
12                        the reporting period.
13                v.      For any quarterly report covering the time period during which a
14                        deadline established in Paragraphs IV.C.3(i) through (v) and
15                        Paragraph IV.D falls, the total number of Class Members for whom
16                        the Department did not provide a decision.
17          5.    All of the data required in this section is subject to privacy restrictions and
18                will be suppressed where the total number of Class Members for any data
19                point is less than 10.
20          6.    Defendants shall notify Plaintiffs’ Counsel within 30 calendar days of the
21                date as of which they have resolved all Class Members’ borrower defense
22                applications, notified all Class Members of their final decisions (where
23                applicable), and effectuated all appropriate relief to Class Members, at
24                which point Defendants’ reporting obligations will cease. Until Defendants
25                provide such notice, Defendants shall continue providing quarterly reports
26                as required by this Paragraph IV.G.
27    H.    Other Assurances. In accordance with applicable statutory and regulatory
28          requirements, and additional governing policies and procedures specific to


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 1               Defendants’ consideration of borrower defense claims, Defendants represent and
 2               confirm that the following policies will apply to all Class Members throughout the
 3               time covered by the Agreement:
 4               1.     Defendants do not take action to collect outstanding student loan debts
 5                      through involuntary collection activity against individuals with pending
 6                      borrower defense applications, as required by the Department’s borrower
 7                      defense regulations. However, this Agreement does not preclude a Class
 8                      Member from proactively and voluntarily paying his or her student loans.
 9               2.     Defendants provide an interest credit for any interest that accrues on the
10                      relevant federal student loan accounts of borrowers between the time that
11                      the borrower submits his or her borrower defense application and the time
12                      the Department issues a final decision on the application and notifies the
13                      borrower of that decision.
14   V.    ENFORCEMENT
15         A.    Notwithstanding all other provisions outside Section V of this Agreement, the
16               Court shall retain jurisdiction only to review claims set forth in this Section V, and
17               only in the manner explicitly provided in Section V. In connection with each such
18               claim, the Court shall retain jurisdiction only to order the relief explicitly specified
19               for each particular claim and only where Defendants have not provided that relief
20               pursuant to the procedures specified in this Section. The Court shall lack
21               jurisdiction to imply any claims, or authority to issue any other relief, under this
22               Agreement.
23         B.    The only claims permissible to enforce this Agreement are as follows:
24               1.     Failure to Provide Relief to Class Members Who Did Not Receive a
25                      Decision by the Decision Due Date. Plaintiffs may bring a claim alleging
26                      that Defendants have materially breached the Agreement if Defendants
27                      have (i) failed to issue to a Class Member or Post-Class Applicant by the
28                      due date established in Paragraph IV.C.3, IV.C.4, or IV.D.2, as applicable,


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 1                 a decision, as defined by Paragraph IV.C.2; and (ii) subsequently failed,
 2                 within 30 calendar days following the expiration of the applicable deadline,
 3                 to provide that Class Member with notice that they will receive Full
 4                 Settlement Relief, as required by Paragraph IV.C.8 or IV.D.2, as applicable.
 5                     i.   Should Plaintiffs prevail on this claim, the only relief available from
 6                          the Court shall be an order requiring Defendants to promptly provide
 7                          Full Settlement Relief to each affected Class Member on a timetable
 8                          set by the Court. Defendants shall also be liable for Plaintiffs’
 9                          reasonable attorneys’ fees and costs incurred in bringing the claim.
10               ii.        In the event of such a Court order, Defendants will report to
11                          Plaintiffs’ Counsel and the Court on its progress of issuing relief,
12                          as provided herein, to affected Class Members.
13          2.     Failure to Issue Relief by Relief Due Date. Plaintiffs may bring a claim
14                 alleging that Defendants have materially breached Paragraph IV.A.1,
15                 IV.C.9, IV.D.1, and/or IV.D.3 of the Agreement by failing to effectuate
16                 relief within the prescribed time periods for any individual who is entitled
17                 to receive relief pursuant those Paragraphs.
18                i.        Should Plaintiffs prevail on this claim, the only relief available from
19                          the Court shall be an order requiring Defendants to promptly provide
20                          Full Settlement Relief to each affected individual on a schedule set
21                          by the Court. Defendants shall also be liable for Plaintiffs’
22                          reasonable attorneys’ fees and costs incurred in bringing the claim.
23               ii.        In the event of such a Court order, Defendants will report to
24                          Plaintiffs’ Counsel and the Court on its progress of issuing relief, as
25                          provided herein, to affected Class Members.
26          3.     Failure to Submit Timely Quarterly Reports. Plaintiffs may bring a claim
27                 alleging that Defendants have materially breached Paragraph IV.G of the
28                 Agreement by failing to submit a timely and complete quarterly report to


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 1               Plaintiffs’ Counsel via electronic mail within 90 calendar days after the
 2               deadline for the report according to the timelines specified therein. Should
 3               Plaintiffs prevail on this claim, the only relief available from the Court shall
 4               be an order requiring Defendants to submit their reports on a monthly basis
 5               from the point of the order forward. Defendants shall also be liable for
 6               Plaintiffs’ reasonable attorneys’ fees and costs incurred in bringing the
 7               claim.
 8          4.   Involuntary Collections of Class Members’ Student Loan Debt. Plaintiffs
 9               may bring a claim alleging that Defendants have materially breached
10               Paragraph IV.H.1 of the Agreement by collecting on a Relevant Loan after
11               the Effective Date through involuntary collection activity against a Class
12               Member or Post-Class Applicant while his or her application was or is
13               pending or while the Class Member or Post-Class Applicant was or is
14               awaiting the effectuation of relief.
15                i.      Should Plaintiffs prevail on this claim, the only relief available from
16                        the Court shall be an order requiring the Department to refund the
17                        payment(s) collected. If Defendants do not have a valid address for
18                        the affected borrowers to send the refunds, Defendants will
19                        take reasonable steps to engage in skip tracing to find a valid
20                        address.
21               ii.      Defendants shall be liable for a material breach under this Paragraph
22                        V.B.4 if involuntary collection activity occurs because they, their
23                        agents, or their contractors took action to collect a debt through an
24                        involuntary collection activity. Defendants shall not be liable based
25                        on events outside of Defendants’ control, including but not limited
26                        to a situation where a third party, such as an employer, undertakes
27                        debt collection activities, such as wage garnishment, inconsistent
28                        with Defendants’ instructions that collection activity cease.


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 1    C.    All claims listed above are subject to the complete defense of impracticability or
 2          impossibility of performance, as set forth below in Paragraph V.D.5 and Paragraph
 3          XII, as well as the defense that the breach claimed by Plaintiffs is not material.
 4    D.    The exclusive procedure for bringing a claim to enforce the terms and conditions
 5          of this Agreement shall be as follows:
 6          1.     Prior to asserting any claim pursuant to Paragraph V.B, above, Plaintiffs’
 7                 Counsel shall submit written notice alleging a material breach of this
 8                 Agreement to counsel for Defendants. Such notice shall be submitted by
 9                 electronic mail, and shall specify what alleged breach has occurred; describe
10                 the facts and circumstances supporting the claim; and state that Plaintiffs
11                 intend to seek an order from the Court pursuant to Paragraph V.B. Plaintiffs
12                 shall not inform the Court of their allegation(s) at that time.
13          2.     Within 2 business days of receipt of the notice from Plaintiffs’ Counsel,
14                 Defendants will acknowledge receipt of Plaintiffs’ notice.
15          3.     Defendants shall have a period of 14 calendar days after receipt of such
16                 notice from Plaintiffs’ Counsel to inform Plaintiffs’ Counsel in writing of
17                 its determination on whether a material breach has occurred, including
18                 relevant information that informed Defendants’ determination.
19                i.       If Defendants agree that a material breach has occurred, Defendants
20                         will disclose any action they propose to take to resolve the alleged
21                         material breach in the written notice to Plaintiffs as described by this
22                         Paragraph V.D.3. The Parties will meet and confer to determine
23                         whether those actions are sufficient within 5 business days of
24                         Plaintiffs’ receipt of Defendants’ notice.
25                             a. Upon Defendants’ request, Plaintiffs shall provide to
26                                 Defendants any information and materials available to
27                                 Plaintiffs that support the violation alleged in the notice.
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 1                            b. Defendants will have 21 calendar days following the Parties’
 2                                meet and confer to take the action(s) specified in their
 3                                written notice and/or any further action(s) agreed upon in
 4                                writing by the Parties.
 5                            c. If the Parties agree about the existence of a material breach,
 6                                but cannot reach consensus on the appropriate action to
 7                                resolve that breach within 21 calendar days following the
 8                                Parties’ meet and confer, either Party may file a motion for
 9                                enforcement of the Agreement.
10               ii.      If Defendants do not agree that a material breach has occurred, the
11                        Parties will meet and confer to determine if a consensus can be
12                        reached within 5 business days after Plaintiffs’ receipt of
13                        Defendants’ notice as described in this Paragraph V.D.3. If a
14                        consensus cannot be reached within 21 business days following the
15                        Parties’ meet and confer, Plaintiffs may file a motion for
16                        enforcement of the Agreement.
17          4.     Absent the prior, written agreement of the Parties, any motion for
18                 enforcement of the Agreement must be brought within two (2) years after
19                 the Parties notify the Court that Defendants have resolved all Class
20                 Members’ borrower defense applications, notified all Class Members of
21                 their final decisions (where applicable), and effectuated all appropriate
22                 relief to Class Members, as specified in Paragraph XI, below. Otherwise,
23                 any claim of material breach not brought within two (2) years of such date
24                 shall be forever waived by Plaintiffs.
25          5.     If Defendants are reasonably prevented from or delayed in fully performing
26                 any of the obligations set forth in Paragraph IV, above, due to extraordinary
27                 circumstances beyond Defendants’ control, Defendants will notify
28                 Plaintiffs’ Counsel within 14 calendar days of Defendants’ determination


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 1                 that they will not be able to fully perform their obligations. Within that
 2                 notification, Defendants will describe the facts providing their basis for
 3                 believing extraordinary circumstances beyond Defendants’ control prevent
 4                 Defendants from fully performing their obligations. Within 14 calendar
 5                 days of that notice, the Parties will meet and confer as to whether the
 6                 circumstances are beyond the Defendants’ control and to what extent they
 7                 affect Defendants’ ability to issue final decisions or effectuate relief. If the
 8                 Parties agree an extension is warranted, the Parties will negotiate the length
 9                 of an appropriate extension, and the deadlines set forth for Defendants’
10                 performance in Paragraph IV may be altered accordingly. If the Parties
11                 cannot agree as to whether extraordinary circumstances exist or what the
12                 appropriate length of an extension is, Plaintiffs may raise a claim of material
13                 breach of Paragraph IV with the Court prior to the expiration of the
14                 timelines provided in that Paragraph. Defendants shall be permitted to
15                 oppose the filing of such a claim upon the grounds of extraordinary
16                 circumstances, and the Court will at that point have jurisdiction to determine
17                 whether Defendants are entitled to any extension of the deadlines set forth
18                 in Paragraph IV on the basis of extraordinary circumstances. The extension
19                 set forth in this Paragraph V.D.5 shall be for a minimum of seven (7)
20                 calendar days beyond the deadlines for performance set forth in Paragraph
21                 IV without requiring any action by any Party other than Defendants, and
22                 may be longer than that period pursuant to written agreement among the
23                 Parties.
24    E.    The Court relinquishes jurisdiction over all claims, causes of actions, motions,
25          suits, allegations, and other requests for relief in this Action that are not expressly
26          stated in this Paragraph V.
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 1           F.     The Court shall have no jurisdiction to supervise, monitor, or issue orders in this
 2                  Action, except to the extent that Plaintiffs invoke the Court’s jurisdiction pursuant
 3                  to the procedures set forth in this Paragraph V.
 4   VI.     ATTORNEYS’ FEES
 5           A.     To resolve Plaintiffs’ claim for attorneys’ fees, costs, and expenses, Plaintiffs will
 6                  submit a petition for fees under the Equal Access to Justice Act, 28 U.S.C. §
 7                  2412(d), to the Court.
 8           B.     Defendants agree that Plaintiffs are the prevailing party in this action for purposes
 9                  of a fee petition under the Equal Access to Justice Act.
10           C.     Nothing in this Section shall affect the Parties’ ability to attempt to reach a
11                  compromise regarding Plaintiffs’ claim for attorneys’ fees, costs, and expenses.
12   VII.    WAIVER AND RELEASE
13           Plaintiffs, the Class Members, and their heirs, administrators, representatives, attorneys,
14   successors, and assigns, and each of them hereby forever waive, release, and forever discharge
15   Defendants, and all of their officers, employees, and agents, from, and are hereby forever barred
16   and precluded from prosecuting, any and all claims, causes of action, motions, and requests for
17   any injunctive, declaratory, and/or monetary relief, including but not limited to damages, tax
18   payments, debt relief, costs, attorney’s fees, expenses, and/or interest, whether presently known or
19   unknown, contingent or liquidated, alleged in this Action against Defendants through and
20   including the Effective Date, including but not limited to the right to appeal any and all claims
21   Plaintiffs asserted in this Action. This Agreement is not intended to release any claim based on an
22   act or omission or other conduct occurring after the Effective Date, including but not limited to
23   claims by Class Members based on the substance or content of their borrower defense decisions.
24   The Parties do not intend to waive or narrow any res judicata defense Defendants could assert
25   against a future claim brought by any Plaintiff.
26   VIII. NO ADMISSION OF LIABILITY
27           A.     Nothing in this Settlement Agreement shall constitute or be construed to constitute
28                  an admission of any wrongdoing or liability by Defendants, an admission by


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 1                Defendants of the truth of any allegation or the validity of any claim asserted in this
 2                Action, a concession or admission by Defendants of any fault or omission of any
 3                act or failure to act, or an admission by Defendants that the consideration provided
 4                to Plaintiffs under Paragraph IV, above, represents relief that could be recovered
 5                by Plaintiffs in this Action.
 6          B.    Plaintiffs may not offer, proffer, or refer to any of the terms of this Agreement as
 7                evidence in any civil, criminal, or administrative proceedings other than
 8                proceedings that may be necessary to enforce the Agreement as set forth in
 9                Paragraph V, above, or to obtain approval from the Court as set forth in Paragraph
10                X, below.
11   IX.    PLAINTIFFS’ COVENANTS NOT TO SUE
12          A.    Plaintiffs hereby covenant not to commence any action, claim, suit, or
13                administrative proceeding against Defendants related to the non-performance,
14                failed performance, or otherwise unsatisfactory performance in fulfilling their
15                duties and responsibilities under this Agreement; provided, however, that Plaintiffs
16                may initiate an action against Defendants pursuant to the continuing jurisdiction of
17                the Court to compel Defendants’ performance of their obligations under this
18                Agreement, but only as expressly articulated in this Agreement in Paragraph V,
19                above.
20          B.    Plaintiffs hereby covenant not to commence against Defendants any action, claim,
21                suit, or administrative proceeding on account of any claim or cause of action that
22                has been released or discharged by this Agreement.
23   X.     PROCEDURES GOVERNING APPROVAL OF THIS AGREEMENT
24          A.    Within 14 calendar days of the Execution Date, the Parties shall jointly submit this
25                Agreement and its exhibits to the Court, and shall apply for entry of an Order in
26                which the Court:
27                1.       Grants preliminary approval to this Agreement as being fair, reasonable,
28                         and adequate to Plaintiffs;


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 1          2.     Approves the form of the Class Notice attached hereto as Exhibit A;
 2          3.     Directs the Parties to provide Class Notice as set forth in Paragraph X.B
 3                 below, and grants approval of such plan as reasonable under Federal Rule
 4                 of Civil Procedure 23(e)(1);
 5          4.     Schedules a Fairness Hearing to determine whether this Agreement should
 6                 be approved as fair, reasonable, and adequate, and whether an order
 7                 approving the settlement should be entered pursuant to Federal Rule of Civil
 8                 Procedure 23(e);
 9          5.     Provides that any person who wishes to object to the terms of this
10                 Agreement, or to the entry of an Order approving this Agreement, must file
11                 a written Notice of Objection with the Court specifying the objections and
12                 the basis for such objections as provided in the Class Notice, with copies
13                 served on all Parties’ counsel;
14          6.     Provides that between the Execution Date and the Fairness Hearing, the
15                 Defendants shall direct all inquiries from Class Members and Post-Class
16                 Applicants regarding the Agreement to Plaintiffs’ Counsel;
17          7.     Provides that in order to have an objection considered and heard at the
18                 Fairness Hearing, such written Notice of Objection must be filed with the
19                 Court and served on counsel by the date specified in the Class Notice;
20          8.     Provides that the Parties shall each be entitled, but not required, to respond,
21                 in writing, to any Objections up to 14 calendar days prior to the Fairness
22                 Hearing; and
23          9.     Provides that the Fairness Hearing may, from time to time and without
24                 further notice to the Class, be continued or adjourned by order of the Court.
25    B.    After the Court enters an Order containing all of the items set forth in Paragraph
26          X.A, above, the Parties shall promptly distribute the Class Notice as follows:
27          1.     Defendants shall email all Class Members who provided their e-mail
28                 addresses to the Department on their borrower defense applications, or,


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 1                          where Defendants do not have such an e-mail address available or become
 2                          aware that email is undeliverable to the email address on file, Defendants
 3                          shall send a copy of the notice to the Class Member’s last known mailing
 4                          address by first class mail.
 5                  2.      Class Counsel will update the Class Member website’s “Frequently Asked
 6                          Questions” page regarding the lawsuit. A link to the Class Members’
 7                          website will be included in the Class Notice and will be included on the
 8                          Department’s website.
 9                  3.      Plaintiffs will also circulate the Class Notice to legal aid and advocacy
10                          organizations across the country providing borrower defense assistance.
11          C.      No later than 3 business days before the Fairness Hearing, the Parties shall each file
12                  with the Court a declaration confirming compliance with the Notice procedures
13                  approved by the Court.
14          D.      At the Fairness Hearing, the Parties shall jointly request the Court’s final approval
15                  of this Agreement, pursuant to Federal Rule of Civil Procedure 23(e). The Parties
16                  agree to take all actions necessary to obtain approval of this Agreement.
17          E.      If, after the Fairness Hearing, the Court approves this Agreement as fair, adequate,
18                  and reasonable, the Parties consent to entry of Final Judgment in a form
19                  substantively identical to the Final Judgment attached hereto as Exhibit B.
20          F.      Within 120 days after the Effective Date, Defendants shall send Written Notice to
21                  all Post-Class Applicants informing them of their status as Post-Class Applicants
22                  and the provisions of the Agreement that apply to them.
23   XI.    DISMISSAL AND JURISDICTION OF THE COURT TO ENFORCE THIS AGREEMENT
24          The Parties hereby stipulate and agree to entry of Final Judgment in a form substantively
25   identical to the Final Judgment attached hereto as Exhibit B. As provided in that exhibit, Plaintiffs’
26   claims in this Action are dismissed with prejudice, except that the Court shall retain limited
27   jurisdiction for the sole purpose of enforcing the terms of this Agreement as expressly set forth in
28   Paragraph V of this Agreement. Once Defendants have resolved all Class Members’ and Post-


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 1   Class Applicants’ borrower defense applications, notified all Class Members and Post-Class
 2   Applicants of their final decisions (where applicable), and effectuated all appropriate relief to Class
 3   Members and Post-Class Applicants, the Parties will file a notice with the Court. Upon the date of
 4   that notice, the Court’s jurisdiction over this Action shall completely terminate.
 5           The Parties agree that any order of the Court granting approval of this Agreement does not
 6   render the terms and conditions of this Agreement subject to the contempt powers of the Court.
 7   XII.    IMPOSSIBILITY OF PERFORMANCE
 8           In addition to the excuses to performance listed in Paragraph V.D.5, above, if Congress
 9   renders Defendants’ performance under this Agreement impossible, in whole or in part, then
10   Defendants shall forever be relieved of all obligations that would, as a result of such Congressional
11   action, be impossible to perform. Defendants shall not be required to take any action, or attempt
12   to take any action, which would circumvent or violate, or have the effect of circumventing or
13   violating, the law.
14   XIII. CONDITIONS THAT RENDER THIS AGREEMENT VOID OR VOIDABLE
15           A.     This Agreement shall be void if it is not approved as written by a final Court order
16                  not subject to any further review.
17           B.     This Agreement shall be voidable by Plaintiffs and/or Defendants if the Court does
18                  not enter a Final Judgment, or other Final Approval Order, that is substantively
19                  identical to the one attached hereto as Exhibit B. Any Party’s decision to void the
20                  Agreement under this provision is effective only if that Party provides notice of its
21                  decision, in writing, to the counsel of record for all other Parties within 30 calendar
22                  days of the date on which the Court entered Final Judgment.
23           C.     This Agreement shall be voidable by Plaintiffs if a condition of impossibility
24                  occurs, as described in Paragraph XII. Plaintiffs’ decision to void the Agreement
25                  under this provision is effective only if Plaintiffs’ Counsel provides notice of their
26                  decision, in writing, to the counsel of record for Defendants.
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 1   XIV. EFFECT OF AGREEMENT IF VOIDED
 2          A.    Should this Agreement become void as set forth in Section XIII above, none of the
 3                Parties will object to reinstatement of this Action in the same posture and form as
 4                it was pending immediately before the Execution Date.
 5          B.    All negotiations in connection herewith, and all statements made by the Parties at
 6                or submitted to the Court as part of the Fairness Hearing process, shall be without
 7                prejudice to the Parties to this Agreement and shall not be deemed or construed to
 8                be an admission by a Party of any fact, matter, or proposition, nor admissible for
 9                any purpose in the Action other than with respect to the settlement of same.
10          C.    The Parties shall retain all defenses, arguments, and motions as to all claims that
11                have been or might later be asserted in this Action, and nothing in this Agreement
12                shall be raised or construed by any Party to defeat or limit any claims, defenses,
13                arguments, or motions asserted by either Party.
14   XV.    MODIFICATION OF THIS AGREEMENT
15          A.    Before the Preliminary Approval Date, this Agreement, including the attached
16                exhibits, may be modified only upon the written agreement of the Parties.
17          B.    After the Preliminary Approval Date—including the time after which Final
18                Judgment has been entered—this Agreement, including the attached exhibits, may
19                be modified only with the written agreement of all the Parties and with the approval
20                of the Court, upon such notice to the Class, if any, as the Court may require.
21   XVI. RULES OF CONSTRUCTION
22          A.    The Parties acknowledge that this Agreement constitutes a negotiated compromise.
23                The Parties agree that any rule of construction under which any terms or latent
24                ambiguities are construed against the drafter of a legal document shall not apply to
25                this Agreement.
26          B.    This Agreement shall be construed in a manner to ensure its consistency with
27                federal law. Nothing contained in this Agreement shall impose upon Defendants
28                any duty, obligation, or requirement, the performance of which would be


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                      inconsistent with federal statutes, rules, or regulations in effect at the time of such
 2                    performance.
 3            c.     The headings in this Agreement are for the convenience of the Parties only and
 4                   shall not limit, expand, modify, or aid in the interpretation or construction of this
 5                   Agreement.
 6   XVII.    INTEGRATION
 7            This Agreement and its exhibits constitute the entire agreement of the Parties, and no prior
 8   statement, representation, agreement, or understanding, oral or written, that is not contained herein,
 9   will have any force or effect.
10   XVIII.   EXECUTION

              This Agreement may be executed in counterparts. Facsimiles and Adobe PDF versions of
12   signatures shall constitute acceptable, binding signatures for purposes of this Agreement.
13

14    For the Defendants:                                 For the Plaintiffs:
15

16
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17
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18   STEPHANIE HINDS                                     REBECCA C. ELLIS (pro hac vice)
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21   Trial Attorney                                      Jamaica Plain, MA 02130
     U.S. Department of Justice                          Tel.: (617) 390-3003
22   Civil Division, Federal Programs Branch             Fax: (617) 522-0715
     I IOOL Street, N.W.
23                                                       JOSEPH JARAMILLO (SBN 178566)
     Washington, DC 20005
24   Telephone: (202) 616-8098                           jjaramillo@heraca.org
     E-mail: robert.c.merritt@usdoj.gov                  HOUSING & ECONOMIC RIGHTS
25                                                       ADVOCATES
                                                         3950 Broadway, Suite 200
26                                                       Oakland, California 94611
27                                                       Tel.: (510) 271-8443
                                                         Fax: (510) 868-4521
28


                                            Settlement Agreement
                                             3: 19-cv-03674-WHA
                                                       27
Case3:19-cv-03674-WHA
Case 3:19-cv-03674-WHA Document
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                        Exhibit A
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                                              DRAFT

InternalName:BD Sweet v. Cardona – General Notification
InternalNumber: 01
Subjectifsentelectronically: Notice of Proposed Class Action Settlement - Important borrower
defense information for you


[DATE]

Borrower Defense Application #: [Case Number]

Dear [Primary Contact Name]:

Your rights may be affected, please read carefully.

You filed a borrower defense application asking the U.S. Department of Education (“Department”) to
cancel some or all of your federal student loan debt because you allege the school you (or your child)
attended engaged in unlawful conduct. We write to inform you that there is a proposed settlement in a
class action lawsuit that could affect your claim and to explain how your legal rights may be affected by
that lawsuit.

As a borrower defense applicant, you may have been previously informed of a class action lawsuit called
Sweet v. DeVos, which challenged the Department’s delay in issuing final decisions on borrower defense
applications, including yours. You may also have been informed in 2020 that the parties had proposed a
settlement of the lawsuit, subject to the court’s approval. The court did not approve that proposed
settlement, so the lawsuit continued. You can find more information about that here:
https://predatorystudentlending.org/news/press-releases/in-new-ruling-judge-denies-borrower-defense-
settlement-over-department-of-educations-perfunctory-alarmingly-curt-denials-press-release/. The lawsuit
now also challenges the Department’s denial of certain borrower defense applications.

We now write to inform you that there is a new proposed settlement of the lawsuit. The settlement will
not become final until it is approved by the court as fair, adequate, and reasonable. This Notice describes
how your legal rights may be affected by this settlement.

What is the case about?

A lawsuit was filed in a federal court in California by seven borrower defense applicants who represent,
with certain exceptions, all borrowers with pending borrower defense applications. The lawsuit challenges
the way the Department has been dealing with borrower defense applications over the past few years,
including the Department’s delays in issuing final decisions and the Department’s denial of certain
applications starting in December 2019. The case is now called Sweet v. Cardona, No. 3:19-cv-3674
(N.D. Cal.).

Now, both parties are proposing to settle this lawsuit. This proposed settlement is a compromise of
disputed claims, and Defendants continue to deny that they have acted unlawfully.
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What are the terms of the proposed settlement for borrowers who applied for borrower defense
relief on or before June 22, 2022?

In the proposed settlement, the Department agrees to resolve the borrower defense applications of people
who have borrower defense applications pending as of June 22, 2022 on the following terms:

    -    If your borrower defense application related to federal student loans borrowed to pay for
         attendance at a school on the list attached to this letter, you will receive a discharge of federal
         loans associated with that school and a refund of any amounts paid to the Department on those
         federal loans, and the credit tradeline for those loans will be deleted from your credit report.
         Within 90 days of the date that the court’s approval of the settlement agreement becomes final,
         the Department will notify you that you will receive this relief. You will receive the relief within
         one year of the final effective date of the settlement agreement. Until this relief is provided, the
         Department will not take action to collect your debt.

    -    If your loans are not associated with a school on the list attached to this letter, you will receive a
         decision on your application according to the following schedule:

             o   If you submitted your application between January 1, 2015 and December 31, 2017, the
                 Department will issue a decision no later than 6 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2018 and December 31, 2018, the
                 Department will issue a decision no later than 12 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2019 and December 31, 2019, the
                 Department will issue a decision no later than 18 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2020 and December 31, 2020, the
                 Department will issue a decision no later than 24 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2021 and June 22, 2022, the
                 Department will issue a decision no later than 30 months after the court’s approval of the
                 settlement agreement becomes final.

    -    If you do not receive a decision within the timeline outlined above, you will receive a discharge
         of federal loans associated with your borrower defense applications and a refund of any amounts
         paid to the Department on those federal loans, and the credit tradeline for those loans will be
         deleted from your credit report.

    -    The Department will decide your application in a streamlined review process that will determine
         whether the application states a claim that, if presumed to be true, would assert a valid basis for
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        borrower defense; will not require further supporting evidence; will not require proof of reliance;
        and will not apply any statute of limitations to your application.

   -    If your application is approved under the procedures above, you will receive a discharge of
        federal loans associated with your borrower defense application and a refund of any amounts paid
        to the Department on those federal loans, and the credit tradeline for those loans will be deleted
        from your credit report.

   -    The Department will not deny your application without first providing instructions on what is
        required for a successful application and giving you the opportunity to resubmit your application.

            o   If you choose to resubmit your application, you must do so within 6 months after
                receiving those instructions. The instructions will explain that if you do not resubmit
                within the 6-month period, your application will be considered denied.

            o   If you choose to resubmit your application within the 6-month time period after receiving
                the instructions, the Department will issue you a final decision no later than 6 months
                after receiving your resubmitted application.

   -    If you received a notice from the Department in December 2019 or later informing you that your
        borrower defense application was denied, that denial has been voided and the Department is
        reviewing your application pursuant to the terms described above.

What are the terms of the proposed settlement for borrowers who applied for borrower defense
relief after June 22, 2022 but before final approval of the settlement?

   -    If you submitted your application after June 22, 2022, but before the court approves the
        settlement agreement, the Department will issue a decision on your application no later than 36
        months after the court’s approval of the settlement agreement becomes final. If the Department
        does not issue a decision within that time period, you will receive a discharge of federal loans
        associated with your borrower defense application and a refund of any amounts paid to the
        Department on those federal loans, and the credit tradeline for those loans will be deleted from
        your credit report.

Does the Department have any reporting obligations?

   -    The Department will provide your lawyers with information about its progress making borrower
        defense decisions every three months, including how many decisions the Department has made
        and how many borrowers have received a loan discharge.

What if my loan is in default?

   -    If you are in default, the Department will not take action to collect your debt, such as by
        garnishing your wages (that is, taking part of your paycheck) or taking portions of your tax
        refund, while your application is pending or while you are waiting to receive any relief you are
        owed under the settlement.
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What happens next?

The court will need to approve the proposed settlement before it becomes final. The court will hold a
public hearing, called a fairness hearing, to decide if the proposed settlement is fair. The hearing will be
held on _______, 2022, beginning at _________, at the following address:

        United States District Court
        Northern District of California
        450 Golden Gate Avenue, Courtroom 12, 19th Floor
        San Francisco, California 94102

Information about the hearing, including the process for participation and virtual attendance (if any), will
be posted at https://predatorystudentlending.org/cases/sweet-v-devos/.

What should I do in response to this Notice?

IF YOU AGREE with the proposed settlement, you do not have to do anything. You have the right to
attend the fairness hearing, at the time and place above, but you are not required to do so.

IF YOU DISAGREE WITH OR HAVE COMMENTS on the proposed settlement, you can write to the
court or ask to speak at the hearing. You must do this by writing to the Clerk of the Court, at the
following mailing address:

        Clerk of the Court
        United States District Court
        Northern District of California
        450 Golden Gate Avenue
        San Francisco, California 94102

You can also submit comments by email to the Clerk of Court at [email address]. Your written comments
or request to speak at the fairness hearing must be postmarked or date-stamped by ____, 2022. The Clerk
will provide copies of the written comments to the lawyers who brought the lawsuit.

Where can I get more information?

There is more information about the Sweet lawsuit on Class Counsel’s website at
https://predatorystudentlending.org/cases/sweet-v-devos/. Check this site periodically for updated
information about the lawsuit.

A copy of the proposed settlement is available online at https://predatorystudentlending.org/cases/sweet-
v-devos/documents/.

If you have questions about this lawsuit or about the proposed settlement, please visit this Frequently
Asked Questions page, https://predatorystudentlending.org/sweet-v-devos-class-members/, which also has
contact information for the lawyers who brought the lawsuit.

Sincerely,

U.S. Department of Education

Federal Student Aid
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                        Exhibit B
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 1                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2
 3
      THERESA SWEET, et al.,
 4                                                            No. 3:19-cv-03674-WHA
                            Plaintiffs,
 5
               v.                                             ORDER APPROVING SETTLEMENT
 6
                                                              AGREEMENT AND ENTERING FINAL
 7    MIGUEL CARDONA, in his official capacity                JUDGMENT
      as Secretary of Education, and the UNITED
 8    STATES DEPARTMENT OF EDUCATION                          Hon. William Alsup
 9                          Defendants.
10
11
              Following this Court’s Order preliminarily approving the proposed Settlement Agreement
12
     (“Agreement”), Plaintiffs and Defendants (“the Parties”) disseminated a Notice of Proposed
13
     Settlement and Fairness Hearing to the Plaintiff Class.              After consideration of the written
14
     submissions of the Parties, the Agreement between the Parties, any objections to the Agreement,
15
     all filings in support of the Agreement, and the presentations at the hearing held by the Court to
16
     consider the fairness of the Agreement, the Court hereby Orders, Finds, Adjudges, and Decrees
17
     that:
18
              1.     The Agreement between the Parties is finally approved as fair, reasonable, and
19
     adequate. The Court hereby incorporates the terms of the Agreement, executed by the Parties on
20
     June 22, 2022, into this Judgment Order.
21
              2.       Except as provided in paragraph 3 of this Order, this action is hereby dismissed
22
     with prejudice.
23
              3.       The Court shall retain jurisdiction over this action solely to enforce the terms of the
24
     Agreement, but only such jurisdiction as expressly set forth in Section V of the Agreement.
25
              4.     Once Defendants have decided all Class Members’ borrower defense claims,
26
     notified all Class Members of their final decisions (where applicable), and effectuated all
27
28



                                 Order Approving Settlement and Entering Final Judgment
                                                   3:19-cv-03674-WHA
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 1   appropriate relief to Class Members, the Parties will file a notice with the Court. Upon the date of
 2   that notice, the Court’s jurisdiction over this action shall completely terminate.
 3
 4            IT IS SO ORDERED.
 5
 6   Dated:
 7
 8
 9
10                                                  __________________________________
                                                    The Honorable William Alsup
11                                                  United States District Judge
12
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                              Order Approving Settlement and Entering Final Judgment
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                        Exhibit C
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                               Sweetv.Cardona SettlementAgreementExhibitC




SchoolOwner(s)                               School/BrandName
AltaColleges,Inc.(Westwood)                WestwoodCollege
AmericanCommercialColleges,Inc.            AmericanCommercialCollege
AmericanNationalUniversity                  AmericanNationalUniversity
AnaMariaPiñaHoudeandMarcHoude           AnamarcCollege
AnthemEducationGroup;International        AnthemCollege
EducationCorporation                         AnthemInstitute
                                              UniversityofPhoenix
ApolloGroup
                                              WesternInternationalUniversity
                                              ATICareerTrainingCenter
                                              ATICollege
ATIEnterprises
                                              ATICollegeofHealth
                                              ATITechnicalTrainingCenter
B&HEducation,Inc.                           MarinelloSchoolofBeauty
BerkeleyCollege(NY)                         BerkeleyCollege
                                              AshfordUniversity
BridgepointEducation
                                              UniversityoftheRockies
CapellaEducationCompany;Strategic
                                              CapellaUniversity
Education,Inc.
                                              AmericanInterContinentalUniversity
                                              BriarcliffeCollege
                                              BrooksCollege
                                              BrooksInstitute
                                              CollinsCollege
                                              ColoradoTechnicalUniversity
                                              GibbsCollege
                                              HarringtonCollegeofDesign
                                              InternationalAcademyofDesignandTechnology
                                              KatharineGibbsSchool
                                              LeCordonBleu
                                              LeCordonBleuCollegeofCulinaryArts
                                              LeCordonBleuInstituteofCulinaryArts
                                              LehighValleyCollege
                                              McIntoshCollege
                                              MissouriCollegeofCosmetologyNorth
                                              PittsburghCareerInstitute
                                              SanfordͲBrownCollege
CareerEducationCorporation                  SanfordͲBrownInstitute
                                              BrownCollege
                                              BrownInstitute
                                              WashingtonBusinessSchool
                                              AllentownBusinessSchool
                                              WesternSchoolofHealthandBusinessCareers
                                              UltrasoundDiagnosticSchools
                                              SchoolofComputerTechnology
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SchoolOwner(s)                                  School/BrandName
                                                 AlCollinsGraphicDesignSchool
                                                 OrlandoCulinaryAcademy
                                                 SouthernCaliforniaSchoolofCulinaryArts
                                                 CaliforniaCulinaryAcademy
                                                 CaliforniaSchoolofCulinaryArts
                                                 PennsylvaniaCulinaryInstitute
                                                 CookingandHospitalityInstituteofChicago
                                                 ScottsdaleCulinaryInstitute
                                                 TexasCulinaryAcademy
                                                 KitchenAcademy
                                                 WesternCulinaryInstitute
CenterforEmploymentTraining                   CenterforEmploymentTraining
                                                 CaliforniaCollegeSanDiego
CenterforExcellenceinHigherEducation       CollegeAmerica
(CEHE)                                           IndependenceUniversity
                                                 StevensͲHenager
ComputerSystemsInstitute                       
CourtReportingInstitute,Inc.                  CourtReportingInstitute
                                                 La'JamesCollegeofHairstyling
CynthiaBecher
                                                 La'JamesInternationalCollege
                                                 AmericanCareerCollege
DavidPyle
                                                 AmericanCareerInstitute
                                                 McCannSchoolofBusiness&Technology
                                                 MiamiͲJacobsCareerCollege
                                                 MillerMotteBusinessCollege
DeltaCareerEducationCorporation
                                                 MillerͲMotteCollege
                                                 MillerͲMotteTechnicalCollege
                                                 TucsonCollege
                                                 AmericanUniversityoftheCaribbean
                                                 CarringtonCollege
                                                 ChamberlainUniversity
                                                 DeVryCollegeofTechnology
DeVry                                            DevryInstituteofTechnology
                                                 DeVryUniversity
                                                 KellerGraduateSchoolofManagement
                                                 RossUniversitySchoolofVeterinaryMedicine
                                                 RossUniversitySchoolofMedicine
                                                 ArgosyUniversity
                                                 TheArtInstitute
                                                 BrownMackieCollege
                                                 IllinoisInstituteofArt(The)
EDMC/DreamCenter
                                                 MiamiInternationalUniversityofArt&Design
                                                 NewEnglandInstituteofArt(The)
                                                 SouthUniversity
                                                 WesternStateUniversityCollegeofLaw
                                                 AllͲStateCareerSchool
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SchoolOwner(s)                                 School/BrandName
EducationAffiliates(JLLPartners)             FortisCollege
                                                FortisInstitute
EdudyneSystemsInc.                            CareerPointCollege
EmpireEducationGroup                          EmpireBeautySchool
                                                EvergladesUniversity
EvergladesCollege,Inc.
                                                KeiserUniversity
FastTrain                                       FastTrain
                                                GlobeUniversity
GlobeEducationNetwork
                                                MinnesotaSchoolofBusiness
                                                BauderCollege
                                                KaplanCareerInstitute
GrahamHoldingsCompany(Kaplan)                KaplanCollege
                                                MountWashingtonCollege
                                                PurdueUniversityGlobal
GrandCanyonEducation,Inc.                    GrandCanyonUniversity
                                                ArizonaSummitLawSchool
InfilawHolding,LLC                            CharlotteSchoolofLaw
                                                FloridaCoastalSchoolofLaw
                                                FloridaCareerCollege
InternationalEducationCorporation
                                                UnitedEducationInstitute
ITTEducationalServicesInc.                   ITTTechnicalInstitute
                                                GwinnettCollege
JTCEducation,Inc.                             MedtechCollege
                                                RadiansCollege
LaureateEducation,Inc.                        WaldenUniversity
                                                FloridaTechnicalCollege
LeedsEquityPartnersV,L.P.                   NationalUniversityCollege
                                                NUCUniversity
                                                ConcordeCareerCollege
LibertyPartners
                                                ConcordeCareerInstitute
                                                InternationalTechnicalInstitute
LincolnEducationalServicesCorporation        LincolnCollegeofTechnology
                                                LincolnTechnicalInstitute
MarkA.GabisTrust                             DaymarCollege
                                                WrightBusinessSchool
MissionGroupKansas,Inc.
                                                WrightCareerCollege
                                                AmericanCollegeforMedicalCareers
                                                BranfordHallCareerInstitute
                                                HallmarkInstituteofPhotography
                                                HallmarkUniversity
PremierEducationGroupL.P.                    HarrisSchoolofBusiness
                                                InstituteforHealthEducation(The)
                                                MicropowerCareerInstitute
                                                SuburbanTechnicalSchool
                                                SalterCollege
                                                BeckfieldCollege
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SchoolOwner(s)                                School/BrandName
QuadPartnersLLC                              BlueCliffCollege
                                               DorseyCollege
RemingtonUniversity,Inc.;RemingtonCollege
                                               RemingtonCollege
BCL,Inc.
SouthernTechnicalHoldings,LLC               SouthernTechnicalCollege
StarCareerAcademy                            StarCareerAcademy
SullivanandCoglianoTrainingCenter,Inc.
                                               SullivanandCoglianoTrainingCenters
TCSEducationSystem                           ChicagoSchoolofProfessionalPsychology
                                               CourtReportingInstituteofStLouis
VatterottEducationalCenters,Inc.
                                               VatterottCollege
                                               RobertFianceBeautySchools
                                               RobertFianceHairDesignInstitute
                                               RobertFianceInstituteofFlorida
WilfredAmericanEducationCorp.
                                               WilfredAcademy
                                               WilfredAcademyofBeautyCulture
                                               WilfredAcademyofHair&BeautyCulture
                                               BrightwoodCareerInstitute
                                               BrightwoodCollege
WillisStein&Partners(ECA)
                                               NewEnglandCollegeofBusinessandFinance
                                               VirginiaCollege
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U.S. Department of Education

Office of Federal Student Aid


Initial Report under Settlement Agreement in Sweet et
al. v. Cardona, Case No. 3:19-cv-03674-WHA, U.S.
District Court for the Northern District of California




                                           February 27, 2023
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                                         INITIAL REPORT

          Pursuant to the Settlement Agreement executed June 22, 2022 (“Agreement”) and

granted final approval by the Court on November 16, 2022 (ECF No. 345), the U.S. Department

of Education through its Federal Student Aid office submits this Initial Report (reflecting

numbers as of November 16, 2022) to Plaintiffs as required by Paragraph IV.G.1 of the

Agreement and states as follows:1

          1. Total Number of Class Members: 290,832

          2. Total Number of Class Members determined to be eligible for Full Settlement Relief
             pursuant to Section IV.A. of the Agreement:
              195,993

          3. Total Number of Class Members who must receive decisions pursuant to Paragraph
             IV.C. of the Agreement: 100,346

          4. Total Number of Class Members and Post-Class Applicants who must receive
             decisions by each deadline set forth in Paragraph IV.C.3(i) through (v) and Paragraph
             IV.D., respectively, and a schedule of the dates certain by which such decisions must
             be received pursuant to these paragraphs:




                                Total Number of Class         Deadline for Decision
                                Members
     Class Members              33,172                        7/28/2023
    submitting applications                                   (6 months after Effective Date)
    1/1/2015-12/31/2017,
    inclusive
     Class Members              11,553                        1/28/2024 (Saturday)
    submitting applications                                   (12 months after Effective Date)
    1/1/2018-12/31/2018,
    inclusive
                                
1
  On February 24, 2023, the Court denied the joint motion of Lincoln Educational Services,
Everglades College, Inc., and American National University (the “Appealing Intervenor
Schools”) to stay the Court’s final judgment approving the settlement pending appeal. See ECF
No. 382. The Court did, however, grant a seven-day administrative stay to allow the Appealing
Intervenor Schools the opportunity to seek a stay from the Ninth Circuit. The information in this
Initial Report captures applications filed by Class Members who attended the Appealing
Intervenor Schools. To the extent the schools succeed in obtaining a stay from the Ninth Circuit,
Defendants will make any appropriate revisions in a subsequent report.
                                                  1
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                              Total Number of Class   Deadline for Decision
                              Members
     Class Members            13,604                  7/28/2024 (Sunday)
    submitting applications                           (18 months after Effective Date)
    1/1/2019-12/31/2019,
    inclusive
     Class Members            9,471                   1/28/2025
    submitting applications                           (24 months after Effective Date)
    1/1/2020-12/31/2020,
    inclusive
     Class Members            32,551                  7/28/2025
    submitting applications                           (30 months after Effective Date)
    1/1/2021-6/22/2022,
    inclusive
     Post-Class Applicants    205,448                 1/28/2026
    submitting applications                           (36 months after Effective Date)
    6/23/2022-11/15/2022,
    inclusive




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
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                        Exhibit 
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U.S. Department of Education

Office of Federal Student Aid


First Quarterly Report under Settlement Agreement
in Sweet et al. v. Cardona, Case No. 3:19-cv-03674-
WHA, U.S. District Court for the Northern District of
California




                                              May 30, 2023
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                               FIRST QUARTERLY REPORT

       Pursuant to the Settlement Agreement executed June 22, 2022 (“Agreement”) and

granted final approval by the Court on November 16, 2022 (ECF No. 345), the U.S. Department

of Education through its Federal Student Aid office submits this First Quarterly Report as

required by Paragraph IV.G of the Agreement. As required by Paragraph IV.G.3 and IV.G.4 of

the Agreement, this First Quarterly Report covers the progress made by the Department from

January 18, 2023 (the Effective Date) through April 30, 2023 1 and states as follows: 2

       1. The total number of Class Members with pending borrower defense applications
          (which number shall include members of the § 555(e) Subclass): 74,183


       2. (a) The total number of settlement relief decisions that have been issued to Class
          Members pursuant to Paragraph IV.C.2.i of the Agreement: 3           0


           (b) The total number of revise and resubmit notices that have been issued to Class
           Members pursuant to Paragraph IV.C.2.ii, of the Agreement:       0

           (c) The total number of denial decisions that have been issued to Class Members
           pursuant to Paragraph IV.C.2.iii: 0

           (d) The total number of revise and resubmit notices issued to Class Members that
           became denial decisions pursuant Paragraph IV.C.2.ii of the Agreement because the
           Class Member did not revise and resubmit his or her application within 6 months after
           being sent a deficiency notice:    0



1
  As Paragraph IV.G.4 directs, each reporting period “exclude[s] a period not exceeding 30
calendar days immediately preceding the submission of a report, during which Defendants pull,
confirm, and validate the data provided in each report.”
2
  As provided in Paragraph IV.G.5 of the Agreement, all data in in this Quarterly Report is
subject to privacy restrictions and will be suppressed where the total number of Class Members
for any data point is less than 10.
3
  26,867 group relief decisions have been issued to class members receiving group borrower
defense relief. These borrowers are in the process of having such relief granted and their cases
closed on that basis. Class members who have been granted group borrower defense relief are
receiving equivalent relief to those who are granted relief pursuant to the Sweet settlement.
                                                 1
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         3. (a) The number of Class Members who have been issued settlement relief decisions
            during the reporting period: 4  0
             (b) The number of Class Members who have been issued revise and resubmit notices
             during the reporting period: 0

             (c) The number of Class Members who have been issued final denial decisions during
             the reporting period: 0

             (d) The number of Class Members whose revise and resubmit notices became denial
             decisions during the reporting period because the Class Member did not revise and
             resubmit his or her application within 6 months after being sent a deficiency notice:
             0


         4. The total number of Class Members for whom Defendants have effectuated relief
            pursuant to Paragraph IV.A:

             (a) To date: 105,973
             (b) During the reporting period:    71,038


         5. For any quarterly report covering the time period during which a deadline established
            in Paragraphs IV.C.3(i) through (v) and Paragraph IV.D falls, the total number of
            Class Members for whom the Department did not provide a decision: N/A this
            reporting period because no deadlines have passed yet.




4
    See supra n.3.
                                                  2
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U.S. Department of Education

Office of Federal Student Aid


Second Quarterly Report under Settlement
Agreement in Sweet et al. v. Cardona, Case No. 3:19-
cv-03674-WHA, U.S. District Court for the Northern
District of California




                                             August 28, 2023
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                              SECOND QUARTERLY REPORT

       Pursuant to the Settlement Agreement executed June 22, 2022 (“Agreement”) and

granted final approval by the Court on November 16, 2022 (ECF No. 345), the U.S. Department

of Education through its Federal Student Aid office submits this Second Quarterly Report as

required by Paragraph IV.G of the Agreement. As required by Paragraph IV.G.3 and IV.G.4 of

the Agreement, this Second Quarterly Report covers the progress made by the Department from

May 1, 2023 through July 29, 20231 and states as follows:2

       1. The total number of Class Members with pending borrower defense applications
          (which number shall include members of the § 555(e) Subclass):  60,429


       2. (a) The total number of settlement relief decisions that have been issued to Class
          Members pursuant to Paragraph IV.C.2.i of the Agreement:3            11,779


           (b) The total number of revise and resubmit notices that have been issued to Class
           Members pursuant to Paragraph IV.C.2.ii, of the Agreement:           2,041

           (c) The total number of denial decisions that have been issued to Class Members
           pursuant to Paragraph IV.C.2.iii:      0

           (d) The total number of revise and resubmit notices issued to Class Members that
           became denial decisions pursuant Paragraph IV.C.2.ii of the Agreement because the

1
  As Paragraph IV.G.4 directs, each reporting period “exclude[s] a period not exceeding 30
calendar days immediately preceding the submission of a report, during which Defendants pull,
confirm, and validate the data provided in each report.”
2
  As provided in Paragraph IV.G.5 of the Agreement, all data in in this Quarterly Report is
subject to privacy restrictions and will be suppressed where the total number of Class Members
for any data point is less than 10.
3
  26,863 relief decisions have been issued to class members receiving group borrower defense
relief or another individually adjudicated approval of relief. The number represents a change
from the number reported in the First Quarterly Report as a result of FSA's ongoing validation
and verification efforts as to which class members are receiving group borrower defense relief or
other individual adjudications. These borrowers are in the process of having such relief granted
and their cases closed on that basis. Class members who have been granted group borrower
defense relief and individual relief are receiving equivalent relief to those who are granted relief
pursuant to the Sweet settlement.
                                                 1
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    Class Member did not revise and resubmit his or her application within 6 months after
    being sent a deficiency notice:       0


 3. (a) The number of Class Members who have been issued settlement relief decisions
    during the reporting period:     11,534
    (b) The number of Class Members who have been issued revise and resubmit notices
    during the reporting period:    2,021

    (c) The number of Class Members who have been issued final denial decisions during
    the reporting period:    0

    (d) The number of Class Members whose revise and resubmit notices became denial
    decisions during the reporting period because the Class Member did not revise and
    resubmit his or her application within 6 months after being sent a deficiency notice:
    0


 4. The total number of Class Members for whom Defendants have effectuated relief
    pursuant to Paragraph IV.A:

    (a) Through 7/29/2023:       128,430
    (b) During the reporting period:         57,616


 5. For any quarterly report covering the time period during which a deadline established
    in Paragraphs IV.C.3(i) through (v) and Paragraph IV.D falls, the total number of
    Class Members for whom the Department did not provide a decision:          0




                                         2
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U.S. Department of Education

Office of Federal Student Aid


Third Quarterly Report under Settlement Agreement
in Sweet et al. v. Cardona, Case No. 3:19-cv-03674-
WHA, U.S. District Court for the Northern District of
California




                                           November 27, 2023
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                               THIRD QUARTERLY REPORT

       Pursuant to the Settlement Agreement executed June 22, 2022 (“Agreement”) and

granted final approval by the Court on November 16, 2022 (ECF No. 345), the U.S. Department

of Education through its Federal Student Aid office submits this Third Quarterly Report as

required by Paragraph IV.G of the Agreement. As required by Paragraph IV.G.3 and IV.G.4 of

the Agreement, this Third Quarterly Report covers the progress made by the Department from

July 30, 2023 through October 28, 2023 1 and states as follows: 2

       1. The total number of Class Members with pending borrower defense applications
          (which number shall include members of the § 555(e) Subclass):  60,418


       2. (a) The total number of settlement relief decisions that have been issued to Class
          Members pursuant to Paragraph IV.C.2.i of the Agreement:            11,777 3


           (b) The total number of revise and resubmit notices that have been issued to Class
           Members pursuant to Paragraph IV.C.2.ii, of the Agreement:           2,042 4

           (c) The total number of denial decisions that have been issued to Class Members
           pursuant to Paragraph IV.C.2.iii:      0


1
  As Paragraph IV.G.4 directs, each reporting period “exclude[s] a period not exceeding 30
calendar days immediately preceding the submission of a report, during which Defendants pull,
confirm, and validate the data provided in each report.”
2
  As provided in Paragraph IV.G.5 of the Agreement, all data in in this Quarterly Report is
subject to privacy restrictions and will be suppressed where the total number of Class Members
for any data point is less than 10.
3
  The total number of relief decisions issued as of July 29, 2023, the “report through” date of the
Second Quarterly Report (dated August 28, 2023) was actually 11,777. The number provided in
the Second Quarterly Report was 11,779. This discrepancy was due to one case being counted
twice and another case being issued a revise and resubmit notice.
4
  The total number of revise and resubmit notices issued as of the August 28th report was 2,042,
not 2,041 as previously stated in the Second Quarterly Report. One case had not been updated in
the database. The number remained at 2,042 as of October 28, 2023, the “report through” date of
this Third Quarterly Report.


                                                 1
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           (d) The total number of revise and resubmit notices issued to Class Members that
           became denial decisions pursuant Paragraph IV.C.2.ii of the Agreement because the
           Class Member did not revise and resubmit his or her application within 6 months after
           being sent a deficiency notice:          0


       3. (a) The number of Class Members who have been issued settlement relief decisions
          during the reporting period:      Data suppressed 5
           (b) The number of Class Members who have been issued revise and resubmit notices
           during the reporting period:     0

           (c) The number of Class Members who have been issued final denial decisions during
           the reporting period:     0

           (d) The number of Class Members whose revise and resubmit notices became denial
           decisions during the reporting period because the Class Member did not revise and
           resubmit his or her application within 6 months after being sent a deficiency notice:
           0


       4. The total number of Class Members for whom Defendants have effectuated relief
          pursuant to Paragraph IV.A:

           (a) Through 10/28/2023:         147,063
           (b) During the reporting period:            30,314



       5. For any quarterly report covering the time period during which a deadline established
          in Paragraphs IV.C.3(i) through (v) and Paragraph IV.D falls, the total number of
          Class Members for whom the Department did not provide a decision:           N/A this
          reporting period because no such deadlines passed during the period covered by this
          Report.




5
  The Settlement Agreement provides that “[a]ll of the data required in this [reporting] section is
subject to privacy restrictions and will be suppressed where the total number of Class Members
for any data point is less than 10.” Agreement at IV.G.5.
                                                 2
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U.S. Department of Education

Office of Federal Student Aid


Fourth Quarterly Report under Settlement Agreement
in Sweet et al. v. Cardona, Case No. 3:19-cv-03674-
WHA, U.S. District Court for the Northern District of
California




                                          February 26, 2024
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                              FOURTH QUARTERLY REPORT

       Pursuant to the Settlement Agreement executed June 22, 2022 (“Agreement”) and

granted final approval by the Court on November 16, 2022 (ECF No. 345), the U.S. Department

of Education through its Federal Student Aid office submits this Fourth Quarterly Report as

required by Paragraph IV.G of the Agreement. As required by Paragraph IV.G.3 and IV.G.4 of

the Agreement, this Fourth Quarterly Report covers the progress made by the Department from

October 29, 2023 through January 27, 2024 1 and states as follows: 2

       1. The total number of Class Members with pending borrower defense applications
          (which number shall include members of the § 555(e) Subclass):    51,324


       2. (a) The total number of settlement relief decisions that have been issued to Class
          Members pursuant to Paragraph IV.C.2.i of the Agreement:                 19,918


           (b) The total number of revise and resubmit notices that have been issued to Class
           Members pursuant to Paragraph IV.C.2.ii, of the Agreement:           3,272

           (c) The total number of denial decisions that have been issued to Class Members
           pursuant to Paragraph IV.C.2.iii:          Data suppressed 3

           (d) The total number of revise and resubmit notices issued to Class Members that
           became denial decisions pursuant Paragraph IV.C.2.ii of the Agreement because the
           Class Member did not revise and resubmit his or her application within 6 months after
           being sent a deficiency notice:             0




1
  As Paragraph IV.G.4 directs, each reporting period “exclude[s] a period not exceeding 30
calendar days immediately preceding the submission of a report, during which Defendants pull,
confirm, and validate the data provided in each report.”
2
  As provided in Paragraph IV.G.5 of the Agreement, all data in in this Quarterly Report is
subject to privacy restrictions and will be suppressed where the total number of Class Members
for any data point is less than 10.

3
 The Settlement Agreement provides that “[a]ll of the data required in this [reporting] section is
subject to privacy restrictions and will be suppressed where the total number of Class Members
for any data point is less than 10.” Agreement at IV.G.5.
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       3. (a) The number of Class Members who have been issued settlement relief decisions
          during the reporting period:       7,923
           (b) The number of Class Members who have been issued revise and resubmit notices
           during the reporting period:      1,273

           (c) The number of Class Members who have been issued final denial decisions during
           the reporting period:      Data suppressed 4

           (d) The number of Class Members whose revise and resubmit notices became denial
           decisions during the reporting period because the Class Member did not revise and
           resubmit his or her application within 6 months after being sent a deficiency notice:
           0


       4. The total number of Class Members for whom Defendants have effectuated relief
          pursuant to Paragraph IV.A:

           (a) Through 1/27/2024: See Addendum to Fourth Quarterly Report
           (b) During the reporting period: See Addendum to Fourth Quarterly Report



       5. For any quarterly report covering the time period during which a deadline established
          in Paragraphs IV.C.3(i) through (v) and Paragraph IV.D falls, the total number of
          Class Members for whom the Department did not provide a decision:           N/A this
          reporting period because no such deadlines passed during the period covered by this
          Report.




4
 The Settlement Agreement provides that “[a]ll of the data required in this [reporting] section is
subject to privacy restrictions and will be suppressed where the total number of Class Members
for any data point is less than 10.” Agreement at IV.G.5.
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                        ADDENDUM TO FOURTH QUARTERLY REPORT

         Item No. 4 covers Class Members eligible for relief pursuant to Paragraph IV.A. To

provide that relief, the Department prepared borrower defense (“BD”) discharge requests for all

loans eligible for relief pursuant to Paragraph IV.A, and, once permitted, sent those requests to

the servicer for each eligible loan. A discharge request prompts the servicer to make certain

entries and updates and, once they are made, the servicer records the discharge request as

fulfilled and reports a BD discharge to the National Student Loan Data System (“NSLDS”).

Direct loan servicers are required to regularly update the Department on the progress of fulfilled

requests that they have recorded, and the BD discharges that accompany fulfilled requests are

then periodically reported to NSLDS. For commercial Federal Family Education Loans (“FFEL

loans”), the Guaranty Agencies (“GA”) also regularly update the Department on the progress of

fulfilled discharge requests, but BD discharges for FFEL loans are manually recorded in NSLDS,

which requires additional time. In previous reports, the figures in Item No. 4 were based on the

number of Class Members for whom servicers reported a BD discharge to NSLDS. This month,

the Department concluded that those figures do not account for certain processing issues

identified by the Department and, thus, did not accurately reflect the full state of some

borrowers’ relief status. Specifically, in some cases, there are additional steps after the first

servicer reports a BD discharge that other servicers must take for the discharge to be reflected in

the accounts with the borrower’s current servicer and on StudentAid.gov (which allows

borrowers to view loan information from NSLDS), 5 and some loans with reported BD discharges

still require these additional steps. The result is that those Class Members’ relief has started to


5
  For example, when a discharge-eligible loan has been consolidated, the pre-consolidation servicer receives and
fulfills the discharge request, but the post-consolidation servicer must take additional steps afterward for the
discharge to be reflected in the consolidation loan. In addition, a small minority of cases may also require additional
steps due to coding errors or random processing glitches.
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be processed but is not yet reflected in the accounts with their current servicer or on

StudentAid.gov. For the reasons discussed above, the Department has concluded that previous

reports’ figures for Item No. 4 do not account for these discharges that are still in process. The

Department is working with servicers and analyzing records in NSLDS to verify the status of

those discharges.

       For these reasons, this Addendum provides an updated version of the figures in past

reports and also includes new figures based on an analysis of NSLDS records, which exclude any

discharges that may still be in process:

       x   Through January 27, 2024, servicers have reported BD discharges for 162,340 Class
           Members eligible for relief under Paragraph IV.A, which includes BD discharges for
           24,287 such Class Members during the reporting period.

       x   The Department’s subsequent analysis of NSLDS records indicates that, as of
           February 15, 2024, discharges have been fully processed for at least 135,526 Class
           Members eligible for relief under Paragraph IV.A.

       The Department appreciates the importance of providing full settlement relief to

borrowers as promptly as possible. The Department will continue to work on improving that

process and on verifying the status of Class Members’ relief. The Department is also committed

to working with the servicers, the guaranty agencies, and plaintiffs’ counsel so that reports to

Class Members provide the data figures necessary to most accurately reflect the status of Class

Members’ relief.
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From:            Rebecca Ellis
To:              Robinson, Stuart J. (CIV); Merritt, Robert C. (CIV)
Cc:              Eileen Connor; Rebecca Eisenbrey; jjaramillo@heraca.org
Subject:         Sweet v Cardona - MOHELA issue
Date:            Tuesday, September 19, 2023 6:59:00 PM
Attachments:     MOHELA Letter Sept 2023.pdf


Stuart and Charlie,

We wanted to let you know that we’re planning to send the attached letter to MOHELA tomorrow
(Wednesday), with copies to the student loan ombuds offices of FSA, CFPB, New York, and California.
 Over the past couple of weeks, we’ve been hearing from class members with loans serviced by
MOHELA that they’re being told that they must go back into repayment starting next month. Even
when these class members have explained to MOHELA about the terms of the settlement, and have
contacted ED about the problem, MOHELA has refused to acknowledge the borrowers’ right to
remain in administrative forbearance pending the implementation of settlement relief.

We’re strongly urging ED to make sure MOHELA is aware of and is following its obligations to hold
Sweet class members in forbearance when the COVID payment pause ends next month—including
not to send them any bills or any other communications indicating that they have payments due. As
the return to repayment ramps up, we’re very concerned that these issues will occur with other
servicers as well unless ED takes proactive steps to ensure that the servicers are complying with the
settlement. And as you know, involuntary collections on class members awaiting settlement relief
are prohibited by the settlement agreement.

We’d also urge ED to communicate with MOHELA about the rights of borrowers who are entitled to
loan discharges under the Department’s group discharge decisions for Corinthian, ITT, and other for-
profit colleges. Although the majority of these borrowers aren’t part of the Sweet class, we have
heard that they are also getting notices from MOHELA that they’ll have to make payments on loans
that are subject to discharge.

I’m happy to send further information about the particular borrowers we’ve heard from if it would
be helpful, but we believe this problem is widespread among class members who have MOHELA as
their servicer. We also reiterate our request for a class list – preferably one including servicer
information. Having a class list would help avoid unnecessary delay and extra work for ED to run
down the class status of each borrower who contacts us with issues that require follow-up.

Please let us know if you would like to discuss further.

Best,
Becca

__________________________________
Rebecca C. Ellis (she/her)
Project on Predatory Student Lending
769 Centre Street, Suite 166
Jamaica Plain, MA 02130
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Tel.: 617-322-2548
www.ppsl.org
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From:             Rebecca Ellis
To:               Merritt, Robert C. (CIV); Robinson, Stuart J. (CIV)
Cc:               Eileen Connor; Rebecca Eisenbrey; "jjaramillo@heraca.org"
Subject:          RE: Sweet v Cardona - MOHELA issue
Date:             Friday, September 29, 2023 12:55:00 PM


Hi Charlie,

While we appreciate the update, we are deeply concerned about this situation. Later today we will
be sending letters to additional servicers, as we’ve continued to receive complaints from Sweet class
members about servicers refusing to recognize their class status and insisting that they will have
payments due in the next couple of weeks. As I’m sure you understand, it puts borrowers under a
great deal of stress when they’re hearing one thing from the Department and a different thing from
their servicers (and sometimes, what they hear from the Department doesn’t even line up with the
message that’s now posted on the Department’s Sweet case page). Class members are
understandably afraid that they will face serious consequences if they simply do not pay their
student loan bill when the servicer insists that it’s due. Moreover, we’ve heard that servicers are not
automatically removing class members from auto-debit status, so some will likely have payments
taken from their accounts without their consent (an obvious violation of the settlement).

The reports we’re hearing from class members are also giving us reason to believe that the quarterly
reports the Department has issued thus far under the settlement agreement are not accurate or
complete. Per section IV.F.1 of the settlement, relief has been “effectuated” when Defendants “and
their loan servicers have taken all steps necessary to discharge the Relevant Loan Debt of the Class
Member” and have issued any applicable refund checks (emphasis added). The Department
reported most recently that relief had been “effectuated” for over 128,000 class members – but has
the Department in fact confirmed that the servicers have cleared the relevant balances for all of
these class members? And has the Department confirmed that the rest who are awaiting relief are
being properly held in forbearance or stopped collection status? Our observations suggest it has not,
and that instead the Department has exercised little to no oversight over what is actually happening
to class members’ loans.

We strongly reiterate our request for a class list, which we’ve been requesting at least since this past
May. Having this list is, as we see it, part of our duty as counsel to the class. We need to know who
ED currently believes to be members of the Sweet class (auto relief, decision, and post-class groups)
and their contact information so that we can get accurate information about what is happening to
these borrowers, provide them with accurate information about their class status, and evaluate
what steps we may need to take to safeguard their rights under the settlement.

Finally, we would like to request a conversation ASAP with DOJ and ED to discuss protections for
Sweet class members as payments restart. We realize the impending government shutdown could
make this logistically difficult, but seeing as servicers are going to insist that student loan borrowers
make payments during the shutdown, we cannot wait until whenever that situation resolves.

Best,
Becca
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From: Merritt, Robert C. (CIV) <Robert.C.Merritt@usdoj.gov>
Sent: Friday, September 29, 2023 12:18 PM
To: Rebecca Ellis <REllis@ppsl.org>; Robinson, Stuart J. (CIV) <Stuart.J.Robinson@usdoj.gov>
Cc: Eileen Connor <econnor@ppsl.org>; Rebecca Eisenbrey <REisenbrey@ppsl.org>;
'jjaramillo@heraca.org' <jjaramillo@heraca.org>
Subject: RE: Sweet v Cardona - MOHELA issue

Hi all,

Wanted to follow up to tell you that FSA has updated its website to make clear that class members
do not have to make payments - https://studentaid.gov/announcements-events/sweet-settlement.
The Department is continuing to look into these issues and is committed to making sure that class
members are afforded the protections guaranteed by the settlement.

Thanks,
Charlie


From: Merritt, Robert C. (CIV)
Sent: Wednesday, September 20, 2023 8:21 PM
To: Rebecca Ellis <REllis@ppsl.org>; Robinson, Stuart J. (CIV) <Stuart.J.Robinson@usdoj.gov>
Cc: Eileen Connor <econnor@ppsl.org>; Rebecca Eisenbrey <REisenbrey@ppsl.org>;
jjaramillo@heraca.org
Subject: RE: Sweet v Cardona - MOHELA issue

Becca,

Just wanted to follow up on this briefly to confirm that the Department understands its obligations
under the settlement agreement and will make sure that class members remain in forbearance and
do not have to make payments as provided under the agreement. We are continuing to look into
the issues you have raised and follow up as appropriate.

Best,
Charlie

From: Rebecca Ellis <REllis@ppsl.org>
Sent: Tuesday, September 19, 2023 7:00 PM
To: Robinson, Stuart J. (CIV) <Stuart.J.Robinson@usdoj.gov>; Merritt, Robert C. (CIV)
<Robert.C.Merritt@usdoj.gov>
Cc: Eileen Connor <econnor@ppsl.org>; Rebecca Eisenbrey <REisenbrey@ppsl.org>;
jjaramillo@heraca.org
Subject: [EXTERNAL] Sweet v Cardona - MOHELA issue
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Stuart and Charlie,

We wanted to let you know that we’re planning to send the attached letter to MOHELA tomorrow
(Wednesday), with copies to the student loan ombuds offices of FSA, CFPB, New York, and California.
 Over the past couple of weeks, we’ve been hearing from class members with loans serviced by
MOHELA that they’re being told that they must go back into repayment starting next month. Even
when these class members have explained to MOHELA about the terms of the settlement, and have
contacted ED about the problem, MOHELA has refused to acknowledge the borrowers’ right to
remain in administrative forbearance pending the implementation of settlement relief.

We’re strongly urging ED to make sure MOHELA is aware of and is following its obligations to hold
Sweet class members in forbearance when the COVID payment pause ends next month—including
not to send them any bills or any other communications indicating that they have payments due. As
the return to repayment ramps up, we’re very concerned that these issues will occur with other
servicers as well unless ED takes proactive steps to ensure that the servicers are complying with the
settlement. And as you know, involuntary collections on class members awaiting settlement relief
are prohibited by the settlement agreement.

We’d also urge ED to communicate with MOHELA about the rights of borrowers who are entitled to
loan discharges under the Department’s group discharge decisions for Corinthian, ITT, and other for-
profit colleges. Although the majority of these borrowers aren’t part of the Sweet class, we have
heard that they are also getting notices from MOHELA that they’ll have to make payments on loans
that are subject to discharge.

I’m happy to send further information about the particular borrowers we’ve heard from if it would
be helpful, but we believe this problem is widespread among class members who have MOHELA as
their servicer. We also reiterate our request for a class list – preferably one including servicer
information. Having a class list would help avoid unnecessary delay and extra work for ED to run
down the class status of each borrower who contacts us with issues that require follow-up.

Please let us know if you would like to discuss further.

Best,
Becca

__________________________________
Rebecca C. Ellis (she/her)
Project on Predatory Student Lending
769 Centre Street, Suite 166
Jamaica Plain, MA 02130
Tel.: 617-322-2548
www.ppsl.org
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From:             Rebecca Ellis
To:               Merritt, Robert C. (CIV); Robinson, Stuart J. (CIV)
Cc:               Eileen Connor; Rebecca Eisenbrey; jjaramillo@heraca.org
Subject:          Follow up from Wednesday call
Date:             Friday, October 6, 2023 3:39:00 PM
Attachments:      Borrowers who received billing notices in error.xlsx


Charlie,

Thanks for the discussion on Wednesday about making sure the Sweet settlement is properly
implemented as we enter the return to repayment. To follow up on a couple of points from that call:

First, attached is a list of borrowers who have contacted us to report that their servicers have
attempted to put their Sweet-related loans into repayment. The spreadsheet has tabs for four
servicers (Aidvantage, EdFinancial, MOHELA, and Nelnet). There is also a separate tab for people
we’ve heard from who are not Sweet class members, but who are covered by group discharges and
have had their servicers try to put those loans back into repayment. As discussed, we have secured
Privacy Act waivers from these borrowers so the Department can contact us regarding follow-up for
them. We also continue to get more reports about this each day and will be sending you more
names as we collect them.

Second, as I said on the call, our view is that the class list would be covered by the Protective Order
entered in the Sweet case in December 2020 (ECF 167-1, 169), because under paragraph 1.a.i, it will
be a document containing information derived from records subject to the requirements of the
Privacy Act. Pursuant to paragraph 3.a, we intend to use this document in connection with the
prosecution of the litigation, viz., to contact class members and respond to class member inquiries in
connection with implementation of the settlement. This will not involve the disclosure of class
member information to anyone except that class member himself/herself.

Finally, the following are the items we’re expecting to hear back on:
       DOJ/ED will provide us with a class list within 4 weeks. ED will look into whether including
       mailing addresses for all class members would delay the data pull; if so, that information will
       be provided separately later
       DOJ is investigating the accuracy of the data in the Sweet quarterly reports and will issue
       corrections of any errors
       ED will investigate and report back on the mechanisms for ensuring that people with
       consolidated loans aren’t placed into repayment unless/until their balances are confirmed to
       no longer include any Sweet-eligible loans
       ED will provide a script or other very specific instructions for both FSA and servicer call centers
       to ensure people are getting correct information about the Sweet settlement
       ED will look into providing access to the “do not bill” list to borrower-facing FSA employees so
       that they can cross-reference it in response to borrower inquiries

We are happy to discuss any of these issues further.

Thanks,
Becca
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From:             Merritt, Robert C. (CIV)
To:               Rebecca Ellis; Robinson, Stuart J. (CIV)
Cc:               Eileen Connor; Rebecca Eisenbrey; jjaramillo@heraca.org
Subject:          [Not Virus Scanned] [Not Virus Scanned] RE: Follow up from Wednesday call
Date:             Friday, October 27, 2023 1:47:15 PM
Attachments:      Sweet Contact List - Class Members.zipx


This message has not been virus scanned because it contains encrypted or otherwise protected
data. Please ensure you know who the message is coming from and that it is virus scanned by
your desktop antivirus software.
This message has not been virus scanned because it contains encrypted or otherwise protected
data. Please ensure you know who the message is coming from and that it is virus scanned by
your desktop antivirus software.
Hi Becca,

I’m following up on the below with the requested class list (I will send the password by separate
email). Consistent with our prior discussion, we are designating this list as confidential and subject
to the protective order in this case, so please treat them as such. You will note that mailing
addresses are provided for many of these individuals. As discussed, we are providing this in good
faith for the purpose of ensuring that Sweet class members are kept in forbearance and not required
to make payments on relevant loans. We also recognize that you have raised various issues
regarding the composition of the settlement class, and we hope this will be a useful tool as we
continue to work collaboratively on those issues.

In addition, we wanted to confirm that the Department has now distributed the “do not bill” list we
discussed to its servicers. This is a master list of borrowers who should be in forbearance as
repayment resumes, including Sweet class members and many others. We are continuing to look
into the other issues mentioned in your email below and will follow up as appropriate.

Please let me know if you have any difficulty accessing this file, or if you would like to discuss further.

Thank you,
Charlie


From: Rebecca Ellis <REllis@ppsl.org>
Sent: Friday, October 06, 2023 3:40 PM
To: Merritt, Robert C. (CIV) <Robert.C.Merritt@usdoj.gov>; Robinson, Stuart J. (CIV)
<Stuart.J.Robinson@usdoj.gov>
Cc: Eileen Connor <econnor@ppsl.org>; Rebecca Eisenbrey <REisenbrey@ppsl.org>;
jjaramillo@heraca.org
Subject: [EXTERNAL] Follow up from Wednesday call

Charlie,

Thanks for the discussion on Wednesday about making sure the Sweet settlement is properly
implemented as we enter the return to repayment. To follow up on a couple of points from that call:
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First, attached is a list of borrowers who have contacted us to report that their servicers have
attempted to put their Sweet-related loans into repayment. The spreadsheet has tabs for four
servicers (Aidvantage, EdFinancial, MOHELA, and Nelnet). There is also a separate tab for people
we’ve heard from who are not Sweet class members, but who are covered by group discharges and
have had their servicers try to put those loans back into repayment. As discussed, we have secured
Privacy Act waivers from these borrowers so the Department can contact us regarding follow-up for
them. We also continue to get more reports about this each day and will be sending you more
names as we collect them.

Second, as I said on the call, our view is that the class list would be covered by the Protective Order
entered in the Sweet case in December 2020 (ECF 167-1, 169), because under paragraph 1.a.i, it will
be a document containing information derived from records subject to the requirements of the
Privacy Act. Pursuant to paragraph 3.a, we intend to use this document in connection with the
prosecution of the litigation, viz., to contact class members and respond to class member inquiries in
connection with implementation of the settlement. This will not involve the disclosure of class
member information to anyone except that class member himself/herself.

Finally, the following are the items we’re expecting to hear back on:
       DOJ/ED will provide us with a class list within 4 weeks. ED will look into whether including
       mailing addresses for all class members would delay the data pull; if so, that information will
       be provided separately later
       DOJ is investigating the accuracy of the data in the Sweet quarterly reports and will issue
       corrections of any errors
       ED will investigate and report back on the mechanisms for ensuring that people with
       consolidated loans aren’t placed into repayment unless/until their balances are confirmed to
       no longer include any Sweet-eligible loans
       ED will provide a script or other very specific instructions for both FSA and servicer call centers
       to ensure people are getting correct information about the Sweet settlement
       ED will look into providing access to the “do not bill” list to borrower-facing FSA employees so
       that they can cross-reference it in response to borrower inquiries

We are happy to discuss any of these issues further.

Thanks,
Becca

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Rebecca C. Ellis (she/her)
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                                                                            December 14, 2023

VIA E-MAIL

R. Charlie Merritt
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, N.W.
Washington, DC 20005
Robert.C.Merritt@usdoj.gov

Re: Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)

Dear Charlie,

       Thank you for sending us the Sweet v. Cardona class list on October 27, 2023. Following up on
that communication and our prior call on October 4, 2023, we are writing to review some currently
outstanding implementation issues and the further responses we are awaiting from the Department.

        1. Return to repayment issues

         We appreciate your update on October 27, 2023, that the “do not bill list” has been distributed
to servicers. We were also pleased to see the Department’s announcement on October 30 that it would
be imposing accountability measures on MOHELA for errors in the return to repayment process,
including but not limited to sending bills to borrowers who should not be in repayment status. These
efforts to correct servicing errors are certainly a step in the right direction, and we appreciate the
Department’s prompt attention to this issue.

        That being said, there have been and continue to be servicing errors specific to the Sweet class
that we believe require follow-up. On October 6, 2023, and again on November 1, 2023, we sent you
via email spreadsheets containing information about individual borrowers who had contacted us to
report that their servicers were placing their Sweet-eligible loans back into repayment. 1 After receiving


1
  The October 6, 2023 spreadsheet also included a separate list of people who are not Sweet class members, but
who are covered by group discharges and likewise contacted us about their servicers try to put those loans back
into repayment. We remain concerned about the treatment of those borrowers and urge the Department to be
proactive about protecting their rights.
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the class list, we conducted additional outreach to confirmed Sweet class members to find out more
about the extent of the ongoing return to repayment issues.

        Our survey of individuals from the class list yielded over 900 additional class members who
report that they have been asked by their servicers to return to repayment on Sweet-eligible loans.
Attached is a spreadsheet (with the same data columns as the class list) showing the class members who
have reported this problem to us in the past two weeks. 2

        We request that the Department contact the relevant servicers to confirm, for each borrower on
the three spreadsheets we’ve sent, that their accounts have been correctly placed in administrative
forbearance pending the effectuation of Sweet relief, and that any payments wrongfully collected are
refunded. We further request that the Department send notice to these borrowers that their status has
been corrected and that they do not have any obligation to make payments on Sweet-eligible loans.

      Additionally, the following are open questions we discussed that require follow-up from the
Department to ensure that Sweet class members are not wrongly sent back into repayment:

             a. On our October 4 call, the Department stated that it would be using forensics to
                examine whether Sweet borrowers were wrongly enrolled in autopay, and would instruct
                servicers to initiate automatic refunds of any payments made on loans eligible for Sweet
                discharge and/or forbearance. Has this process been completed?
             b. What is the Department’s mechanism for confirming that the correct calculations have
                been applied to consolidated loans that include both Sweet-eligible and non-Sweet-
                eligible constituent loans?
             c. Has or will the Department develop a script for call center employees (both at FSA and
                the servicers) to ensure that they are giving borrowers complete and accurate
                information about the Sweet settlement?
             d. Will call center representatives (both at FSA and the servicers) have access to the “do not
                bill” list, in order to accurately inform borrowers who reach out with billing questions
                about whether they are required to re-enter repayment?
             e. Has the Department identified other class members who received billing notices in
                error, aside from those listed in the attached spreadsheet, and if so, has it corrected those
                class members’ accounts and provided notice to the borrowers?


2
 This spreadsheet includes a small number of class members who reported that they received a notice showing a
payment due date in 2040 (noted in the final column). We understand that this is how some servicers are reflecting
administrative forbearances. However, these notices are very confusing to borrowers, because they do not state
anywhere that they are meant to communicate an administrative forbearance. We urge the Department to clarify
(or instruct the servicers to clarify) to everyone who has received such a notice that they are not, in fact, currently
required to make any payments on the subject loan.


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        2. Post-settlement reporting

         Given the apparently widespread issues with servicers attempting to collect on Sweet class
members’ loans that should be discharged, 3 we questioned the accuracy of the Department’s post-
settlement reporting of the number of class members for whom relief had been “effectuated.” As we
pointed out in our October 4 call, under section IV.F.1 of the Settlement Agreement, “effectuated”
means that Defendants “and their loan servicers have taken all steps necessary to discharge the
Relevant Loan Debt of the Class Member” and have issued any applicable refund checks (emphasis
added). We questioned whether the Department had in fact confirmed that the servicers have cleared
the relevant balances and issued refunds (where applicable) for all of the class members whose relief was
listed as “effectuated.”

        You stated at the time that DOJ and the Department were investigating the accuracy of the data
in the previous reports and would issue corrections of any errors. But in the settlement implementation
report we received on November 27, 2023, there was no mention of that analysis. What progress has
been made on this investigation?

          Additionally, in an email to DOJ on August 29, 2023, we raised another question about
settlement reporting, to which we have not yet received a response. Specifically, we noted that in the
initial settlement report of February 27, 2023, the Department listed 33,172 people as being included in
the first decision group (i.e., people who submitted their BD applications between January 1, 2015 and
December 31, 2017, and were not covered by automatic relief). Yet in the August 2023 report, only
11,779 people were listed as having received settlement decisions—leaving 21,393 decision group
members unaccounted for. We asked whether all of these 21,393 class members were covered by
footnote 3 of the August 2023 settlement report, which stated that 26,863 class members have received
relief decisions as a result of “group borrower defense relief or another individually adjudicated approval
of relief.”4 And, if they are accounted for in that way, we asked you to confirm which schools those
decision group members attended, or alternatively what sort of “individually adjudicated approval of
relief” they received (total and permanent disability, false certification, etc.).

        We look forward to receiving responses to both of these questions.




3
   See, e.g., https://www.washingtonpost.com/education/2023/10/30/student-loan-servicing-errors-mohela/
(reporting that more than 16,000 borrowers with approved or pending BD applications received bills from their
servicers in October 2023).
4
 Consistent with the return-to-repayment concerns described above, we also request assurance that these class
members’ accounts are being properly held in administrative forbearance pending the effectuation of relief. Even
after receiving an alternate form of discharge instead of a settlement discharge, a class member remains covered
by the guarantees of the Settlement Agreement. See § IV.A.4.


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        3. BD website problems predating execution of the Settlement

         Since July 2022, we have inquired, by our count, no less than 14 times about clarifying the class
status of borrowers who attempted to submit online BD applications on or before June 22, 2022, but
were unable to do so because of technical issues with the BD website. 5 We have not yet received a
satisfactory response.

        In a phone call on August 30, 2022—well over a year ago—representatives of FSA stated that
they would investigate whether they could use back-end processes to identify attempted submissions
before June 22, 2022 that were interrupted or abandoned (similar to a process it had already undertaken
for people who attempted to apply in the weeks immediately after the Settlement’s execution date). FSA
stated at that time that it would use the date that an individual first attempted to submit a BD
application as that individual’s application date for purposes of the Settlement. Since that phone call,
despite repeated requests, we have not heard any further update about those processes, nor have you
responded to our requests to speak to FSA directly about the issue.

        Moreover, on March 6, 2023; June 14, 2023; and July 18, 2023, we sent you spreadsheets with
the names and identifying information of over 800 putative class members and post-class applicants who
reported to us that they had been prevented from submitting a timely online BD application by
technical failures on the BD website. We provided these lists at your request. Yet we have not received
any response regarding the class status of any of the individuals listed.

         Resolving this question has important implications for class members—particularly those who
borrowed for attendance at Exhibit C schools, for whom the difference in an application date could
mean the difference between automatic relief and a 3-year wait in the post-class queue. It is long past
time to resolve this issue and determine once and for all which borrowers should rightfully be included
in the settlement class and the post-class. We reiterate, once again, our request for individual follow-up
on the specific borrowers whose information we have provided, and for a more fulsome conversation
with FSA about its capability to make back-end determinations regarding attempted applications.

        4. Tracking of paper BD applications

         Likewise, back in August 2022 we raised the issue of borrowers whose paper BD applications
were not being recorded with the correct (postmark) dates that would qualify them for settlement class
status. In our phone call with FSA representatives on August 30, 2022, no one from FSA had knowledge
of how the Department tracks paper applications. We have since requested information on the paper
application tracking and recording process at least six additional times, with no response.




5
  As previously mentioned, class members have sent us extensive screenshots and other documentation of the
technical barriers they encountered, which we are happy to provide upon request.


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       Additionally, on June 14, 2023, at your request, we sent a list of seven borrowers who sent in
paper BD applications and either had not received notice of their class status or had been misclassified
based on an erroneous date. We requested that the Department investigate these borrowers’ cases and
confirm that they were included in the class.

        We now reiterate our request that the Department investigate these borrowers’ cases, along with
our request for an explanation of how the Department processes paper applications, including how it
interprets the application date.

        5. Impermissibly using refunds to offset other loans

         In March 2023, we informed you that we had heard from numerous borrowers that their
servicers were applying the refunds they were owed on their Sweet-eligible loans to the remaining balance
of other, unrelated Direct Loans on their accounts, in violation of the Settlement Agreement. After a
number of exchanges about this issue, you confirmed on August 2, 2023, that servicers had indeed been
making this error for a period of time, but that on March 10, 2023, FSA had instructed servicers to (1)
issue full refunds to Sweet class members and not reallocate, and (2) reverse any reallocation transactions
that had previously occurred and provide full refunds. You reported that the servicers had confirmed
that they had done so. We are pleased to report that we have not heard of this problem recurring.

      In connection with this issue, we provided the names of 13 class members who had experienced
wrongful reallocations. On August 2, 2023, you provided information relating to six of those class
members’ accounts. We reiterate our request for information regarding the other seven.

        6. “Interest credit” letters from servicers

         In May and June 2023, we also alerted you that some class members had received letters from
their servicers stating that the servicer does not “service [any] Direct Loans for you on ED’s behalf that
are eligible for borrower defense discharge,” but that ED has “instructed us to apply a credit in the
amount of $[] to your account because it took ED an extended period of time to review your claim.”
But the class members we heard from who received these letters do, in fact, have loans with these servicers
that are eligible for discharge (in full or, in the case of consolidated loans, in part) under the Sweet
settlement.

           These letters also stated that commercially held FFEL loans are not eligible for an interest credit.
To reiterate, this is clearly incorrect under the Settlement Agreement, which defines “Relevant Loan
Debt” as including FFEL loans, see § II.W, and “Full Settlement Relief” as the “discharge of all of a Class
Member’s Relevant Loan Debt,” § II.S (emphasis added); see also § IV.F.1 (“Defendants have effectuated
relief . . . when they and their loan servicers have taken all steps necessary to discharge the Relevant Loan
Debt of the Class Member . . . , including but not limited to (1) discharging any interest that accrued
while the borrower defense application was pending.”)




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        On June 14, 2023, we sent you several examples of these letters, along with the names and
identifying information of 16 class members who had received these inaccurate notices. We requested
that the Department investigate these borrowers’ cases, direct all federal loan servicers to comply with
the terms of the Settlement Agreement, and confirm that the listed borrowers will have their Relevant
Loan Debt discharged appropriately. We have not yet received a response to this request, and we reiterate
it now.

        7. Lack of timely notice

        As you know, the following deadlines under the Settlement have now passed:

            x   Provide notice of settlement relief to members of the automatic relief group: April 28,
                2023 (§ IV.A.3)
            x   Provide notice of the rescission of previous form denial notices to members of the
                decision group: May 28, 2023 (§ IV.B.1)
            x   Provide notice to post-class applicants of their membership in the post-class: May 28,
                2023 (§ X.F)
            x   Provide settlement relief decisions or “revise and resubmit” notices to the first tranche
                of the decision group: July 28, 2023 (§ IV.C.3.i)

         As we’ve previously reported, a number of borrowers have reached out to us because they did
not receive the notice they believe they were due by the deadlines above. On June 14, 2023; July 18,
2023; and August 18, 2023, we provided you with lists of class members and post-class applicants
experiencing these issues. On August 2 and 18, you provided responses from FSA regarding some, but
not all, of these borrowers. For the remaining borrowers whose information we have provided, we
reiterate our request that the Department investigate their cases and provide the appropriate notice.

        8. Relief for class members in particular situations

        We have previously asked about the Department’s plans to provide settlement relief to the
following types of borrowers in atypical situations, and have not yet received a response on either:

       Surviving spouses: If a borrower died while their BD application was pending but before the
Settlement went into effect, will their surviving spouse receive the refund to which the borrower would
have been entitled?

        Refinance with a private lender: If a class member refinanced their federal student loans with a
private lender (e.g., SoFi, Earnest, etc.) while their BD application was pending but before the
Settlement went into effect, will they be eligible for refunds of amounts they paid on those loans before
refinancing? And did the Department inform these class members, at any point during the refinancing
process, that they were waiving their rights to BD relief in general or to relief as a Sweet class member in
particular?



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                                                ***

        Thank you for your attention to this matter. We appreciate the efforts of DOJ and the
Department in implementing this complex but extremely important settlement. We look forward to
your response and would be happy to arrange for a discussion.




                                                  Sincerely,




                                                  Rebecca Ellis
                                                  Eileen Connor
                                                  Rebecca Eisenbrey
                                                  PROJECT ON PREDATORY STUDENT
                                                  LENDING

cc:    Joe Jaramillo
       Stuart J. Robinson




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From:            Rebecca Ellis
To:              Merritt, Robert C. (CIV); Robinson, Stuart J. (CIV)
Cc:              Eileen Connor; Rebecca Eisenbrey; jjaramillo@heraca.org
Subject:         Sweet - Jan. 28 deadline
Date:            Wednesday, January 17, 2024 4:41:00 PM



Charlie,

I’m writing regarding the upcoming deadline of January 28, 2024, for the Department to fully
effectuate relief for all members of the Sweet automatic relief group. In the last week, we have
heard from five class members who were each told by either their servicer or the BD hotline
that they would not receive their relief by the deadline. Indeed, both the hotline and some of
the servicers have told class members that there is a “new timeline” and they might not
receive relief until August 2024. This issue is not limited to one servicer – we’ve heard that this
communication is coming from at least Aidvantage, EdFinancial, and Navient (as a
commercial FFEL servicer). All five of these class members are included on the class list and
attended Exhibit C schools.

This is, of course, the first we’ve heard of any “new timeline” for effectuating relief – a
possibility that the Settlement Agreement does not contemplate.

The Department also has yet to respond to our inquiries, from both our call in November and
our letter in December, regarding whether the Department has actually verified the accuracy
of its quarterly reports of the number of class members for whom relief has been
“effectuated” (a defined term in the Settlement).

Under section V.D.5 of the Settlement Agreement, “If Defendants are reasonably prevented
from or delayed in fully performing any of the obligations set forth in Paragraph IV, above
[including effectuating relief by the deadlines], due to extraordinary circumstances beyond
Defendants’ control, Defendants will notify Plaintiffs’ Counsel within 14 calendar days of
Defendants’ determination that they will not be able to fully perform their obligations.” Is the
Department planning to invoke this provision to excuse its failure to meet the January 28
deadline? If so, we request a prompt response notifying us of the Department’s determination,
including both the date this determination was reached and the required description of “the
facts providing [the Department’s] basis for believing extraordinary circumstances beyond
Defendants’ control prevent Defendants from fully performing their obligations.”

If the Department does not plan to invoke section V.D.5, we request an update on the
Department’s ability to meet the January 28 deadline – including an immediate explanation of
why the Department’s hotline and its servicers are telling borrowers that there is a “new
timeline” for relief that does not appear anywhere in the Settlement Agreement. If the
Department fails to fully effectuate relief for the automatic relief group by January 28, we
intend to invoke the enforcement procedures under section V of the Settlement.
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In any event, we would like to schedule a phone call as soon as practicable with you and
representatives of the Department to discuss settlement implementation issues. (We note
that, if the Department intends to rely on section V.D.5, the Settlement requires a meet and
confer within 14 calendar days of such notice.) Please let us know the availability on your end.

We look forward to your response.

Best,
Becca

__________________________________
Rebecca C. Ellis (she/her)
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www.ppsl.org
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                                                                             February 2, 2023

VIA E-MAIL

Stuart Robinson
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, N.W.
Washington, DC 20005
Stuart.J.Robinson@usdoj.gov

Re:     Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)
        Notice of Material Breach of Settlement Agreement

Dear Stuart,

        Thank you for speaking with us on January 24, 2024, regarding implementation of the Sweet v.
Cardona settlement. We appreciate the Department of Education’s engagement in dialog about the
delivery of settlement relief, and we hope to continue this process with further productive discussions.

        Pursuant to Paragraph V.D.1 of the Settlement Agreement, Plaintiffs hereby provide notice of
Plaintiffs’ allegations that Defendants are in material breach of the Settlement Agreement. In the event
that a meet-and-confer process does not result in prompt and assured rectification of the material
breach, Plaintiffs intend to seek an order from the Court pursuant to Paragraph V.B of the Settlement
Agreement. Details of the facts and circumstances regarding each alleged material breach are set forth
below.

        1. Failure to effectuate relief by applicable due date

         Defendants have materially breached Paragraph IV.A.1 of the Settlement Agreement by failing
to effectuate Full Settlement Relief 1 by the applicable deadline for at least 13,000, and perhaps as many
as 53,000 or more, Class Members who are entitled to relief pursuant to that paragraph.



1
 Capitalized terms herein are as defined in the Settlement Agreement. For reference, “Full Settlement Relief” is
defined as “(i) discharge of all of a Class Member’s Relevant Loan Debt, (ii) a refund of all amounts the Class
Member previously paid to the Department toward any Relevant Loan Debt (including, but not limited to,
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        The Effective Date of the Settlement Agreement was January 28, 2023. See Order Re Motion to
Stay Judgment Pending Appeal at 10, ECF No. 382. Thus, under Paragraph IV.A.1, every Class
Member whose Relevant Loan Debt was associated with a school, program, or School Group listed in
Exhibit C to the Settlement Agreement (the “automatic relief group”) was due to receive Full Settlement
Relief by January 28, 2024.

         The Department of Education (“Department”) acknowledged, in a telephone conference on
January 24, 2024, that it is in breach of this provision of the settlement. The information available to
Plaintiffs indicates that the Department’s failure to effectuate Full Settlement Relief for the automatic
relief group is sufficiently widespread to constitute a material breach.

                 a. Failure to discharge Relevant Loan Debt

        The Department has not discharged all of the Relevant Loan Debt for the automatic relief
group. First, by the Department’s own admission, there are approximately 6,700 Class Members in the
automatic relief group who have not received their discharges as of the January 28 deadline. These Class
Members, according to the Department, have consolidation loans that include both Sweet-eligible and
non-Sweet-eligible underlying loans; the Department and its servicers have not completed the process of
calculating the portions of these consolidation loans that should be discharged.

        Second, the Department reported in our phone call of January 24, 2024, that the Department
has not verified that the rest of the Class Members in the automatic relief group who have consolidated
loans (aside from the above-mentioned 6,700) have actually received their discharges. This is because,
the Department explained, the discharge requests were sent initially to the servicers of the original loans,
not to borrowers’ current consolidation loan servicers. The “expectation” was that the discharge
requests would “roll up” to the consolidation loan servicers. However, the Department does not know
whether that has occurred. Reports we are receiving from Class Members indicate that, in many cases,
it has not. Over 1,000 Class Members have reported to us since January 29, 2024, that they have
consolidation loans and have not received their discharge. This is, of course, only a sample of Class
Members experiencing this issue.

        The Department stated on our recent call that there are approximately 47,000 Class Members
in the automatic relief group who have consolidation loans. It is not clear whether many or most, let
alone all, of the 40,000 Class Members in this category who fall outside the Department’s 6,700
“problem” accounts have received their full discharges. The Department stated as of January 24 that it
could not estimate when the process of tracking down the relief status for all of these Class Members
would be complete.




Relevant Loan Debt that was fully paid off at the time that borrower defense relief is granted), and (iii) deletion
of the credit tradeline associated with the Relevant Loan Debt.” Settlement Agreement ¶ II.S.


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        Third, Plaintiffs’ counsel have already heard from approximately 400 other Class Members who
do not have consolidation loans but nonetheless have not received their full discharges—indicating that
the problems are broader than just the servicers’ failure to “roll up” discharge instructions to
consolidation servicers. This problem appears to be particularly acute for Class Members with
commercially held FFEL loans—including, notably, lead plaintiff Theresa Sweet. Ms. Sweet’s Federal
Student Aid account portal currently shows over $65,000 in outstanding FFEL loans from her
enrollment at Brooks Institute, an Exhibit C school.

        With respect to FFEL loans in particular, Paragraph IV.F.2 of the Settlement provides, in
relevant part: “Class Members . . . who receive relief under Paragraph[] IV.A . . . shall not be required to
take steps to consolidate any Relevant Loan Debt into a Direct Loan to receive the relief to which they
are entitled pursuant to those Paragraphs. Defendants shall take all necessary steps to ensure that other
loan holders effectuate the required relief” (emphasis added). The Department has failed to comply with
the assurance in the second sentence of this paragraph.

                b. Failure to issue full and accurate refunds

         The Department has not provided full and accurate refunds of amounts paid to the Department
to all members of the automatic relief group who are entitled to such refunds. First, again by the
Department’s own admission, there are approximately 5,000 Class Members who have not received
their full refunds as of the January 28 deadline. The Department has stated that this is due to missing or
inaccessible payment histories that current servicer Aidvantage received from former servicer ACS.

       Second, information we have received from Class Members demonstrates that the problem of
missing or incomplete refunds is far more widespread than the 5,000 Class Members that the
Department has identified. Given the servicers’ track records, 2 it would not be surprising if there are
missing or incorrect payment histories for more than just those 5,000 accounts. It is unclear whether
Class Members have not received their refunds for that reason or for some other reason(s).

         Regardless, in the past five days, we have heard from over 1,800 Class Members who have not
received any refund or have not received a refund in the amount they believe they are owed. Of these,
nearly 1,500 do not have Aidvantage as their current servicer, which means they would not be included
in the 5,000 accounts referred to above. Again, this represents only a sample of Class Members who have
reached out to us regarding this issue; the fact that we have heard from so many Class Members in just
the past few days suggests that many more are experiencing problems with their refunds.

                c. Failure to delete credit tradelines

      The Department has not taken all steps necessary to ensure that the credit tradelines for Relevant
Loan Debt are removed from the credit reports of Class Members in the automatic relief group by the

2
 See, e.g., Cory Turner, “How the Most Affordable Student Loan Program Failed Low-Income Borrowers,”
NPR (Apr. 1, 2022), https://www.npr.org/2022/04/01/1089750113/student-loan-debt-investigation


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January 28, 2024 deadline. See Settlement Agreement ¶ IV.F.1 (“Defendants have effectuated relief for
purposes of Paragraph[] IV.A . . . when they and their loan servicers have taken all steps necessary to
discharge the Relevant Loan Debt of the Class Member . . . including but not limited to . . . requesting
the deletion of the relevant tradeline.”)

       Plaintiffs’ counsel have heard from nearly 1,200 Class Members in the automatic relief group
whose Relevant Loan Debt is still appearing on their credit reports. This includes 135 Class Members
whose loans have been discharged.

        Reporting federal student loan debt to a credit bureau when that debt no longer exists violates
not only the Settlement Agreement in this case, but also the Fair Credit Reporting Act. See, e.g., 15
U.S.C. § 1681s-2(a)(1)(A) (“A person shall not furnish any information relating to a consumer to any
consumer reporting agency if the person knows or has reasonable cause to believe that the information
is inaccurate.”); id. § 1681s-2(a)(2) (“A person who . . . has furnished to a consumer reporting agency
information that the person determines is not complete or accurate, shall promptly notify the consumer
reporting agency of that determination and provide to the agency any corrections to that information,
or any additional information, that is necessary to make the information provided by the person to the
agency complete and accurate, and shall not thereafter furnish to the agency any of the information that
remains not complete or accurate.”).

                                                    ***

       Receiving settlement relief in a timely and predictable manner is a matter of urgency for Class
Members. Many of them have been counting on their discharges, refunds, and credit repair in order to
take other important steps in their lives—such as paying for medical care, buying houses or cars,
supporting their families, and going back to school. The failure to receive this relief by the deadline is
potentially devastating. Here are just a few examples of Class Members’ situations that have been
reported to us over the past week:

            x   “I have been waiting for my loans to be discharged so I can start applying for a mortgage
                that I have never been approved [for].”
            x   “Some of my loan was paid by my co signer (my grandmother []) neither of us have
                received a refund of any sort in the mail. This is still on my credit destroying my life. . . .
                I have waited 14 years for this and I’m still stuck. My grandmother is 96 years old and
                deserves to have[] this money given back to her while she is still here.”
            x   “I have put off grad school and starting a business. I have called FSA, Navient,
                MOHELA, and Ascendium, ad nauseum. They all give me the run around.”
            x   “We bought a house. Had been preapproved. Made an offer, it was accepted. After [it
                was] accepted, bank pulled full credit report for final mortgage approval and found
                trade lines last reported to the reporting agencies in December 2022 did not match
                current state on EdFinancial or Dept. of Education web portals. Took weeks of


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                attempting to reach EdFinancial by phone with factual data to verify the loan amounts.
                Upwards of 6 hours hold time and days waiting for call backs. Ultimately our mortgage
                got approved, but with a higher interest rate due to the outstanding student loans
                negatively impacting my credit report.”
            x   “My house purchase will not go through without the discharge reflection on my credit.”
            x   “I am afraid that with the shuffling of funds and lack of access to payment records that
                I will not get the money back that I desperately need to put towards my home repairs.”
            x   “[Nelnet] removed [my loans] from my credit report then added them again causing my
                credit score to plummet by almost 100 points.”
            x   “In October, my loans were officially listed as ‘discharged’ and a refund was shown to
                be issued, but EdFinancial claimed they were no longer responsible for issuing the check
                and told me to wait 3 months for it to arrive. That was in October, and no further
                information has been relayed to me. With my job cutting hours and expenses mounting,
                the lack of these funds is severely impacting my livelihood and mental health, and now
                the deadline has come and gone with still nothing to show for it all.”

        Pursuant to Paragraph V.B.2 of the Settlement Agreement, Plaintiffs intend to seek an order
from the Court requiring Defendants to promptly provide Full Settlement Relief to each affected
individual on a schedule set by the Court. Plaintiffs will request that, as part of any such order, the Court
require Defendants to make monthly, attested reports to Plaintiffs’ Counsel and the Court on their
progress of issuing relief to affected Class Members. Plaintiffs will request that such attestations aver,
under penalty of perjury, that the Department has taken specified steps to ensure the accuracy of its
reports. Plaintiffs further intend to seek attorneys’ fees from Defendants for fees and costs incurred in
bringing this claim, including the costs of investigating the facts that establish the claim of material
breach.

        2. Failure to submit “timely and complete” quarterly reports

        Defendants have materially breached Paragraph IV.G of the Settlement Agreement by failing to
submit “timely and complete” quarterly reports to Plaintiffs’ Counsel. Plaintiffs do not allege that the
reports have been untimely, but rather that they have been materially incomplete. Specifically, these
reports have not accurately depicted the number of class members for whom relief has been
“effectuated” per the definition in the Settlement Agreement.

         Paragraph IV.G.2 of the Settlement provides that “Defendants will submit quarterly reports to
Plaintiffs documenting their progress toward fulfilling their obligations under Paragraph[] IV.A”
(among other paragraphs). These reports are required to include, inter alia, “[t]he total number of Class
Members for whom Defendants have effectuated relief pursuant to Paragraph IV.A, including the
number of Class Members for whom Defendants effectuated relief during the reporting period.”
Settlement Agreement ¶ IV.G.4.iv.


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        Plaintiffs became aware of the potential incompleteness of the quarterly reports in or around
September 2023, in connection with the “return to repayment” following the end of the COVID-19
payment pause. At that time, Plaintiffs’ Counsel began receiving reports from Class Members of
servicers attempting to collect on Class Members’ loans that should have been discharged. News reports
likewise indicated that this problem was widespread. 3

        In a phone call with DOJ on October 4, 2023, we questioned the accuracy of the Department’s
post-settlement reporting of the number of Class Members for whom relief had been “effectuated.” As
we pointed out at that time, under Paragraph IV.F.1 of the Settlement Agreement, “effectuated” means
that Defendants “and their loan servicers have taken all steps necessary to discharge the Relevant Loan
Debt of the Class Member . . . , including but not limited to (1) discharging any interest that accrued
while the borrower defense application was pending; (2) determining if the Class Member . . . is entitled
to any refund, and if so, issuing refund check(s) for payment of that refund; (3) if the Class Member’s .
. . Relevant Loan Debt was previously in default, removing such debt from default status; and (4)
requesting the deletion of the relevant tradeline.”

         In our October 4 call, we questioned whether the Department had in fact confirmed that the
servicers had cleared the relevant balances, issued refunds (where applicable), and requested deletion of
credit tradelines for all of the Class Members whose relief was reported as “effectuated.” DOJ stated at
the time that it was investigating the accuracy of the data in the previous reports and would issue
corrections of any errors. However, the settlement implementation report that DOJ and the
Department delivered on November 27, 2023, contained no mention of any such analysis. The
Department also never provided us with answers to various questions we raised about its processes for
ensuring that Class Members are kept out of repayment and that they receive accurate information from
their servicers.

        We raised these issues again in our letter of December 14, 2023, and in our phone call of January
24, 2024. DOJ’s and the Department’s responses to date indicate that the Department has not verified
whether the servicers have actually discharged Relevant Loan Debt, issued refunds, and/or requested
deletion of credit tradelines before reporting to the Department that relief for certain Class Members
had been “effectuated.”

         Given these representations, along with the evidence discussed above that demonstrates a
significant number of Class Members who have not, in fact, received their Full Settlement Relief, we
believe that the Department’s quarterly reports are inaccurate and incomplete with respect to the
number of Class Members in the automatic relief group for whom relief has been “effectuated.”


3
 See, e.g., Danielle Douglas-Gabriel, “Biden Administration Begins Punishing Servicers for Student Loan Errors,”
Wash. Post (Oct. 30, 2023), https://www.washingtonpost.com/education/2023/10/30/student-loan-servicing-
errors-mohela/ (reporting that more than 16,000 borrowers with approved or pending BD applications received
bills from their servicers in October 2023).


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         Pursuant to Paragraph V.B.3 of the Settlement Agreement, Plaintiffs intend to seek an order
from the Court requiring Defendants to issue monthly, attested reports to Plaintiffs’ Counsel and the
Court on their progress of issuing relief to affected Class Members. Plaintiffs will request that such
attestations aver, under penalty of perjury, that the Department has taken specified steps to ensure the
accuracy of its reports. Plaintiffs further intend to seek attorneys’ fees from Defendants for fees and costs
incurred in bringing this claim, including the costs of investigating the facts that establish the claim of
material breach.

        3. Violation of assurance regarding forbearance or stopped collection status

       Defendants have materially breached Paragraphs IV.A.3 and IV.C.7 of the Settlement
Agreement by allowing the Department’s student loan servicers to send bills to, and even collect
automatic debit payments from, Class Members whose Relevant Loan Debt is covered by the
Settlement Agreement. 4

        Paragraphs IV.A.3 and IV.C.7 provide that Class Members’ Relevant Loan Debt will remain in
forbearance or stopped collection status pending the effectuation of settlement relief. Paragraph IV.C.7
additionally provides that, for “decision group” class members, their Relevant Loan Debt will remain in
forbearance or stopped collection status while they await a decision on their application.

       To date, Plaintiffs’ Counsel has already provided Defendants with the names of hundreds of
Class Members who reported that their loan servicers have demanded payment from them on their
Relevant Loan Debt since September 2023, in violation of the Department’s assurance that Class
Members would remain in forbearance or stopped collection status. We sent lists of affected Class
Members’ names and identifying information to the Department on October 6, 2023; November 1,
2023; and December 14, 2023.

        On October 27, 2023, DOJ reported to Plaintiffs’ Counsel that a “do not bill list” had been
recently distributed to servicers, in an effort to prevent collection on Sweet-eligible loans. However, even
after that date we continued (and continue) to receive reports from Class Members that their servicers
were and are sending bills and refusing to place their accounts into administrative forbearance, as
required by the Settlement.

       In fact, we have heard from 268 Class Members who have made payments on their Relevant
Loan Debt since the “return to repayment” because they have been pressured to do so by their servicers
and they fear the consequences if they don’t pay. Some of these Class Members had money involuntarily

4
 Plaintiffs do not have sufficient information at this time to determine whether Defendants have also breached
Paragraph IV.H.1 of the Settlement, which prohibits “involuntary collection activity” against Class Members.
The Settlement defines “involuntary collection activity” as “any attempt by the Department or its agents to collect
payments toward the Relevant Loan Debt . . . through involuntary means from a borrower in default” (emphasis
added). Plaintiffs do not have the necessary data to know which Class Members’ loans are in default. Plaintiffs
reserve their right to assert a material breach of Paragraph IV.H.1 upon further investigation.


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withdrawn from their bank accounts by their servicers. Others have experienced harassing debt
collection activity from servicers, including servicers’ use of false and misleading statements to try to
trick borrowers into making payments on debts that they do not owe. For instance, multiple Class
Members report being told by MOHELA and Nelnet that their Relevant Loan Debt is delinquent and
they are not entitled to administrative forbearance. At least one Class Member has received debt
collection calls from Navient demanding payment even though she has told Navient repeatedly that she
is a Sweet class member. Another Class Member who has FFEL loans with Navient was told when she
called for an update that since the January 28, 2024 deadline had passed, Navient now “has no deadline”
to effectuate relief. These are just a few examples.

         We appreciate the fact that servicers, particularly commercial FFEL servicers, are independent
entities that the Department does not administer directly. But it is ultimately the Department’s
responsibility to maintain control over its own contractors.

        Accordingly, Plaintiffs intend to seek an order from the Court requiring Defendants to issue
refunds of any amounts collected from affected Class Members on their Relevant Loan Debt since
September 1, 2023, and to take specific steps to ensure that the Department’s loan servicers cease their
violations of the Settlement Agreement.

                                                      ***

        In order to undertake a productive meet-and-confer process regarding these allegations of
material breach, Plaintiffs request the following information from Defendants:

        i.      A copy of the document or documents referred to as “2/28/2023 Sweet Cohort 1 file”
                in the spreadsheet that DOJ emailed to Plaintiffs’ Counsel on January 16, 2024.

        ii.     Copies of all change reports and/or other instructions provided by Federal Student Aid
                (“FSA”) to federal student loan servicers, including commercial FFEL servicers,
                regarding implementation of the Sweet settlement, from January 28, 2023 to the present.

        iii.    Copies of all communications from federal student loan servicers, including commercial
                FFEL servicers, to FSA regarding their compliance with the change reports and/or other
                instructions regarding implementation of the Sweet settlement, from January 28, 2023
                to the present.

        iv.     Copies of documents showing the verification processes that FSA uses to confirm that
                servicers are accurately reporting whether relief has been “effectuated” for a particular
                Class Member.

        v.      Copies of documents showing the processes that FSA uses to confirm that the data
                included in post-settlement reporting pursuant to Paragraph IV.G of the Settlement
                Agreement are accurate.


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       vi.     Copies of all complaints received from Class Members by Federal Student Aid,
               including but not limited to the Federal Student Aid Ombudsman’s Office, from
               September 1, 2023 to the present.

       vii.    An updated version of the Sweet class list that indicates, for each Class Member, whether
               the Department has classified them as a member of the automatic relief group or the
               decision group.

       viii.   A list of the approximately 11,700 Class Members whom the Department has identified
               as not receiving their Full Settlement Relief by the January 28 deadline, including
               notation of whether each Class Member is awaiting a discharge, a refund, or both.

       Thank you for your attention to this matter.


                                                       Sincerely,




                                                       Rebecca Ellis
                                                       Eileen Connor
                                                       Rebecca Eisenbrey
                                                       PROJECT ON PREDATORY STUDENT
                                                       LENDING

cc:    Joe Jaramillo
       Noah Zinner




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                                                                          February 14, 2023

VIA E-MAIL

Stuart Robinson
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, N.W.
Washington, DC 20005
Stuart.J.Robinson@usdoj.gov

Re:     Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)
        Second Notice of Material Breach of Settlement Agreement

Dear Stuart,

         Thank you for acknowledging receipt of our letter dated February 2, 2024, regarding our
allegations of settlement breach with respect to the effectuation of relief for the automatic relief group.
We look forward to receiving the Department’s response and continuing the meet-and-confer process
with respect to those issues.

        We write today to allege a separate material breach of the Settlement Agreement. Specifically,
the Department’s quarterly reports pursuant to Paragraph IV.G of the Settlement have been materially
incomplete because they do not account for all eligible Class Members. On numerous occasions over
the past 18 months, Plaintiffs have identified multiple groups of borrowers who should be eligible for
settlement relief and have asked the Department to confirm that those individuals are included in the
Department’s count of Class Members. The Department has refused to respond to our questions or
provide assurances that these groups are included in the Class. Plaintiffs thus have no choice but to
conclude that the Department has not properly included all eligible Class Members in its reports and
has not provided relief to those Class Members on the appropriate schedule, in violation of Paragraphs
IV.A.1 and IV.C.3 of the Settlement.

         Pursuant to Paragraph V.D.1 of the Settlement Agreement, Plaintiffs hereby provide notice of
Plaintiffs’ allegations that Defendants are in material breach of the Settlement Agreement, along with
details of the facts and circumstances regarding each alleged breach. In the event that a meet-and-confer
process does not result in prompt and assured rectification of the material breach, Plaintiffs intend to
seek an order from the Court pursuant to Paragraph V.B of the Settlement Agreement.
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       1. Failure to submit “timely and complete” quarterly reports

        Defendants have materially breached Paragraph IV.G of the Settlement Agreement by failing to
submit “timely and complete” quarterly reports to Plaintiffs’ Counsel. Specifically, these reports have
been materially incomplete because they have not accurately depicted the number of Class Members
entitled to Settlement relief.

        Paragraph IV.G.1 of the Settlement provides that, “[w]ithin 30 calendar days after the Effective
Date”—that is, by February 28, 2023—Defendants were to deliver a report to Plaintiffs’ Counsel
containing, “as of the Final Approval Date, (i) the total number of Class Members, (ii) the total number
of Class Members the Department has determined are eligible for Full Settlement Relief pursuant to
Paragraph IV.A; (iii) the total number of Class Members who must receive decisions pursuant to
Paragraph IV.C; and (iv) the total number of Class Members and Post-Class Applicants who must
receive decisions by each deadline set forth in Paragraph IV.C.3(i) through (v) and Paragraph IV.D,
respectively.”

        Paragraph IV.G.2 of the Settlement then provides that “Defendants will submit quarterly
reports to Plaintiffs documenting their progress toward fulfilling their obligations under Paragraphs
IV.A, IV.C, and IV.D.” These reports are required to include, inter alia, “[t]he total number of Class
Members with pending borrower defense applications,” “[t]he total number of Class Members for
whom Defendants have effectuated relief pursuant to Paragraph IV.A” (that is, the automatic relief
group), and “the total number of Class Members for whom the Department did not provide a decision”
as required under Paragraphs IV.C.3(i) through (v) (the decision group). See ¶ IV.G.4.

       For each of the groups of Class Members set forth below, the Department has materially
breached one or more of its obligations to set forth full and complete information in its reports.

               a. Borrowers prevented from submitting timely applications by the
                  Department’s technical failures

        From July 2022 through December 2023, we inquired, by our count, no fewer than 15 times
about the class status of borrowers who attempted to submit online BD applications on or before June
22, 2022, but were unable to do so because of technical failures on the BD website. Despite initial
indications from the Department that it understood the class should include borrowers who attempted
to submit before the execution date, we have never received a satisfactory response to our questions
about this issue, nor any confirmation about the class status of these individuals.

       The problems with the BD submission website were widespread and began long before the
Settlement’s execution date. Putative Class Members have sent us extensive documentation of the




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technical barriers they encountered, which we are happy to provide upon request (as we have offered to
do on multiple occasions before).

        In a phone call on August 30, 2022—nearly 18 months ago—representatives of Federal Student
Aid (FSA) stated that they would use the date that an individual first attempted to submit a BD
application as that individual’s application date for purposes of the Settlement. They further stated that
they would investigate whether they could use back-end processes to identify attempted submissions
before June 22, 2022, that were interrupted or abandoned (similar to a process it had already undertaken
for people who attempted to apply in the weeks immediately after the Settlement’s execution date).
Since that phone call, despite repeated requests, we have not heard any further update about those
processes, nor has DOJ responded to our repeated requests to speak to FSA directly about the issue.

        Moreover, on March 6, 2023; June 14, 2023; and July 18, 2023, we sent spreadsheets to DOJ
with the names and identifying information of 1,311 putative Class Members and Post-Class Applicants
who reported to us that they had been prevented from submitting a timely online BD application by
technical failures on the BD website. We provided these lists at your request. Yet we have not received
any response regarding the class status of any of the individuals listed.

        Correct classification has crucial implications for Class Members—particularly those who
borrowed for attendance at Exhibit C schools and attempted to apply for BD on or before June 22,
2022. Such individuals account for over 800 of the names on the lists we’ve provided. For these Class
Members, the difference in an application date means the difference between automatic relief and a
three-year wait in the post-class queue. As we have stated on multiple occasions, it is our position that
these individuals are properly classified as Class Members and should have received Full Settlement
Relief by the deadline of January 28, 2024.

         The names on our lists, of course, represent only a sample of individuals who likely encountered
the technical problems on the BD website. The most accurate way to identify people who should be
classified as Class Members would be through analysis of the Department’s back-end data, which the
Department has apparently refused to undertake despite our repeated requests and their own
commitment to investigate this option.

        Accordingly, the Department’s initial settlement report of February 2023 was materially
incomplete because it did not include people who should have been classified as Class Members and
Post-Class Applicants based on their attempted application dates in its counts of “(i) the total number
of Class Members, (ii) the total number of Class Members the Department has determined are eligible
for Full Settlement Relief pursuant to Paragraph IV.A; (iii) the total number of Class Members who
must receive decisions pursuant to Paragraph IV.C; and (iv) the total number of Class Members and




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Post-Class Applicants who must receive decisions by each deadline set forth in Paragraph IV.C.3(i)
through (v) and Paragraph IV.D, respectively.”

        The Department’s quarterly settlement reports of May 2023, August 2023, and November
2023 were likewise materially incomplete because they did not account for these individuals, and thus
did not accurately reflect “[t]he total number of Class Members with pending borrower defense
applications.” The August 2023 and November 2023 quarterly reports were further materially
incomplete for the same reason, in that they did not accurately reflect “the total number of Class
Members for whom the Department did not provide a decision” by the applicable deadline under
Paragraph IV.C.

                b. Borrowers whose paper applications were lost or improperly processed

        Likewise, as far back as August 2022, we raised the issue of borrowers whose paper BD
applications were not being recorded with the correct (postmark) dates that would qualify them for
Class Members status. In our phone call with FSA representatives on August 30, 2022, no one from
FSA had knowledge of how the Department tracks paper applications. We have since requested
information on the paper application tracking and recording process at least six additional times, with
no response.

        On June 14, 2023, at your request, we sent a list of seven Class Members who sent in paper BD
applications and either had not received notice of their class status or had been misclassified based on an
erroneous date. We requested that the Department investigate these borrowers’ cases and confirm that
they were included in the class. The Department never responded. We also do not have any visibility
into complaints the Department may have received from borrowers who tried to submit paper
applications.

       It is admittedly more difficult (both for Plaintiffs’ Counsel and, potentially, for the
Department) to identify Class Members with missing or misclassified paper applications than Class
Members who interacted with the Department’s online application process. Nonetheless, the
Department’s 18-month silence on even the process that it uses to track paper applications is deeply
concerning and suggests that Class Members are falling through the cracks.

         Accordingly, Plaintiffs allege that the Department’s initial settlement report of February 2023
was materially incomplete because it did not include all people who submitted timely paper applications
in its counts of “(i) the total number of Class Members, (ii) the total number of Class Members the
Department has determined are eligible for Full Settlement Relief pursuant to Paragraph IV.A; (iii) the
total number of Class Members who must receive decisions pursuant to Paragraph IV.C; and (iv) the
total number of Class Members and Post-Class Applicants who must receive decisions by each deadline
set forth in Paragraph IV.C.3(i) through (v) and Paragraph IV.D, respectively.”

      The Department’s quarterly settlement reports of May 2023, August 2023, and November
2023 were likewise materially incomplete because they did not account for these individuals, and thus

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did not accurately reflect “[t]he total number of Class Members with pending borrower defense
applications.” The August 2023 and November 2023 quarterly reports were further materially
incomplete for the same reason, in that they did not accurately reflect “the total number of Class
Members for whom the Department did not provide a decision” by the applicable deadline under
Paragraph IV.C.

                c. Class Members who paid off their federal loans via private refinancing

        Paragraph II.S of the Settlement establishes that Full Settlement Relief includes “a refund of all
amounts the Class Member previously paid to the Department toward any Relevant Loan Debt
(including, but not limited to, Relevant Loan Debt that was fully paid off at the time that borrower
defense relief is granted).” In other words, the Department agreed in the Settlement to refund all
amounts that Class Members had paid to the Department toward their Relevant Loan Debt, even if a
Class Member no longer had any outstanding federal student loan debt at the time the Settlement
Agreement was executed or (in the case of the decision group) at the time the Class Member becomes
entitled to settlement relief.

        On September 21, 2022, in an email to Plaintiffs’ Counsel, DOJ stated for the first time that the
Department did not “think there is any basis for ED to provide any payments to borrowers who
refinanced their loans” with a private company (such as SoFi, Earnest/NaviReFi, or the like)—despite
the Settlement Agreement containing no such caveat. The reasoning provided was that “[o]nce
borrowers refinance their loans, they no longer have a federal loan or any associated BD claim. They are
thus not class members as of the date of consolidation.”

        In response, we questioned why the Department would take the position that the source of the
money that paid off a Class Member’s loan (that is, a refinancing company versus the borrower’s own
funds, however derived) is dispositive of whether the Class Member is entitled to Full Settlement Relief.
DOJ responded that “once the refinance company purchases the loan, that terminates ED’s legal
relationship with the borrower, and the borrower is not entitled to any benefits of the federal student
loan program.”

         To begin, we do not believe this is an accurate portrayal of what happens when a federal student
loan borrower undertakes a private refinancing. The Department does not “sell” or assign the borrower’s
federal loan to the refinancing company—rather, the company makes a new loan to the borrower, and
the proceeds of that loan are used to pay off the federal loan. This is no different than if a borrower, for
example, took out a home equity loan on their house and used the proceeds to pay off their federal
student loans. Indeed, we have reviewed letters—on Department of Education letterhead—to one
borrower who underwent a private refinancing, which state: “We are happy to report you have
successfully completed full repayment of the U.S. Department of Education student loan listed above.
Congratulations on reaching this exciting goal!”




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        Further, in response to the Department’s stated position, we asked for clarification three times—
on February 22, 2023; March 2, 2023; and December 14, 2023. Each time, we asked two questions: (i)
Even if the Department contends that a borrower who would otherwise be a Class Member cannot get
a refund of a payoff amount that came from a private refinancing, would that borrower be eligible for
refunds of amounts they paid to the Department before refinancing?; and (ii) Did the Department
inform these borrowers individually, at any point, that they were waiving their rights to BD relief in
general or to relief as a Sweet Class Member in particular by opting for private refinance? 1 We have never
received responses to these questions from the Department.

         Class Members’ choices to refinance their loans were the direct result of the Department
misconduct at the heart of the Sweet case: the failure to issue timely and fair decisions on BD
applications. After languishing in the Department’s BD system for years, with no end in sight—and, for
some borrowers, having already received a form denial letter—people understandably lost hope that the
Department would ever hear their defenses and sought to make what seemed to be a reasonable financial
decision, to transfer their loans to a lender who offered lower interest rates. Having driven borrowers to
this situation—without, as far as we can tell, providing adequate notice of the consequences—the
Department cannot deny them the same relief as other Class Members. There is no basis in the
Settlement Agreement to do so.

         The Department’s initial settlement report of February 2023 was materially incomplete because
it omitted people who met the definition of Class Member from its counts of “(i) the total number of
Class Members, (ii) the total number of Class Members the Department has determined are eligible for
Full Settlement Relief pursuant to Paragraph IV.A; (iii) the total number of Class Members who must
receive decisions pursuant to Paragraph IV.C; and (iv) the total number of Class Members and Post-
Class Applicants who must receive decisions by each deadline set forth in Paragraph IV.C.3(i) through
(v) and Paragraph IV.D, respectively,” based on a criterion (having undergone a private refinancing) that
is not a condition of Class membership.

        The Department’s quarterly settlement reports of May 2023, August 2023, and November
2023 were likewise materially incomplete because they did not account for these individuals, and thus
did not accurately reflect “[t]he total number of Class Members with pending borrower defense
applications.” The August 2023 and November 2023 quarterly reports were further materially
incomplete for the same reason, in that they did not accurately reflect “the total number of Class
Members for whom the Department did not provide a decision” by the applicable deadline under
Paragraph IV.C.




1
  Significantly, documents we have reviewed that Class Members received from refinancing companies do not
mention borrower defense, much less the Sweet case, as being among the rights that a borrower might lose by
refinancing.


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                 d. “Missing” decision group Class Members

         In the Department’s initial settlement report of February 27, 2023, the Department listed
33,172 people as being included in the first decision group (i.e., people who submitted their BD
applications between January 1, 2015, and December 31, 2017, and were not covered by automatic
relief). Yet in the August 2023 report, only 11,779 people were listed as having received settlement
decisions—leaving 21,393 decision group members unaccounted for.

         In an email to DOJ on August 29, 2023, we asked whether all of these 21,393 class members
were covered by footnote 3 of the August 2023 settlement report, which stated that 26,863 class
members have received relief decisions as a result of “group borrower defense relief or another
individually adjudicated approval of relief.” And, if they were accounted for in that way, we asked the
Department to confirm which schools those decision group members attended, or alternatively what
sort of “individually adjudicated approval of relief” they received (total and permanent disability, false
certification, etc.).

        The Department never responded to our question. We reiterated the same question in our letter
of December 14, 2023. Further, consistent with the return-to-repayment concerns that had arisen by
that time, we also requested assurance that these 21,393 Class Members’ accounts are being properly
held in administrative forbearance pending the effectuation of relief. 2

       The Department still has not provided an adequate explanation for the apparent elimination of
21,393 Class Members from the decision group. Accordingly, to the extent that the August 2023 and
November 2023 quarterly reports do not account for these individuals, they are materially incomplete
because they do not accurately reflect “[t]he total number of Class Members with pending borrower
defense applications” and “the total number of Class Members for whom the Department did not
provide a decision” by the applicable deadline under Paragraph IV.C.

       Further, to the extent that those 21,393 Class Members’ accounts are not being properly held in
administrative forbearance pending the effectuation of relief, Defendants have materially breached the
assurances in Paragraphs IV.A.3 and IV.C.7 of the Settlement Agreement.

                                                      ***

         Pursuant to Paragraph V.B.3 of the Settlement Agreement, Plaintiffs intend to seek an order
from the Court requiring Defendants to revise their post-settlement reporting to correctly account for
the categories of eligible Class Members described above, and going forward to issue monthly, attested
reports to Plaintiffs’ Counsel and the Court that correctly account for all eligible Class Members.
Plaintiffs will request that such attestations aver, under penalty of perjury, that the Department has
taken specified steps to ensure the accuracy of its reports. Plaintiffs further intend to seek attorneys’ fees

2
 Even after receiving an alternate form of discharge instead of a settlement discharge, a Class Member remains
covered by the guarantees of the Settlement Agreement. See ¶ IV.A.4.


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from Defendants for fees and costs incurred in bringing this claim, including the costs of investigating
the facts that establish the claim of material breach.

        2. Failure to effectuate relief by applicable due date

         Defendants have materially breached Paragraph IV.A.1 of the Settlement Agreement by failing
to effectuate Full Settlement Relief by the applicable deadline for at least 811, and perhaps hundreds or
thousands more, Class Members who are entitled to relief pursuant to that paragraph.

        As noted above, Plaintiffs’ Counsel has provided Defendants with the names of at least 811
individuals who should be classified as Class Members in the automatic relief group because they
borrowed for attendance at Exhibit C schools and attempted to submit borrower defense applications
on or before June 22, 2022, but were unable to complete their applications due to the Department’s
technical errors. As members of the automatic relief group, these individuals should have received Full
Settlement Relief by January 28, 2024. Due to the Department’s failure to properly classify them, they
did not.

        Pursuant to Paragraph V.B.2 of the Settlement Agreement, Plaintiffs intend to seek an order
from the Court requiring Defendants to promptly provide Full Settlement Relief to each affected
individual on a schedule set by the Court. Plaintiffs will request that, as part of any such order, the Court
require Defendants to make monthly, attested reports to Plaintiffs’ Counsel and the Court on their
progress of issuing relief to affected Class Members. Plaintiffs will request that such attestations aver,
under penalty of perjury, that the Department has taken specified steps to ensure the accuracy of its
reports. Plaintiffs further intend to seek attorneys’ fees from Defendants for fees and costs incurred in
bringing this claim, including the costs of investigating the facts that establish the claim of material
breach.

                                                        ***

        In order to undertake a productive meet-and-confer process regarding these allegations of
material breach, Plaintiffs request the following information from Defendants:

        i.      Copies of all borrower inquiries and/or complaints regarding technical problems with
                the BD online submission process received by Federal Student Aid, including but not
                limited to the Federal Student Aid Ombudsman’s Office, from January 1, 2022, to the
                present.

        ii.     Any and all documents reflecting or regarding the Department’s efforts to identify
                potential Sweet Class Members who were prevented from filing timely BD applications
                due to technical problems with the BD online submission process.

        iii.    Copies of all borrower inquiries and/or complaints regarding the receipt and/or
                processing of paper BD applications received by Federal Student Aid, including but not


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               limited to the Federal Student Aid Ombudsman’s Office, from January 1, 2022, to the
               present.

        iv.    Copies of all written policies governing the handling and/or processing of paper BD
               applications.

        v.     Any and all documents reflecting or regarding lost and/or mishandled paper BD
               applications.

        vi.    The names of all individuals the Department excluded from Class Member status
               and/or excluded from receiving Full Settlement Relief (including but not limited to
               refunds of final loan payoff amounts) on the basis that those individuals undertook a
               private refinancing.

        vii.   Documents sufficient to show how the Department identifies when a federal student
               loan payoff originates from a private refinancer as distinct from other sources.

        Thank you for your attention to this matter.


                                                       Sincerely,




                                                       Rebecca Ellis
                                                       Eileen Connor
                                                       Rebecca Eisenbrey
                                                       PROJECT ON PREDATORY STUDENT
                                                       LENDING

cc:     Joe Jaramillo




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                                                      U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      450 Golden Gate Ave.
                                                      San Francisco, CA 94102



Stuart J. Robinson                                    Telephone:       (415) 436-6635
Senior Counsel                                        E-Mail:          stuart.j.robinson@usdoj.gov

                                                      February 16, 2024


Rebecca Ellis
Project on Predatory Student Lending
769 Centre St.
Boston, MA 02130

Re:     Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)

Dear Rebecca:

         We write to respond to your letter dated February 2, 2024, providing notice of Plaintiffs’
allegations that Defendants are in material breach of the Settlement Agreement. In accordance
with the terms of the Agreement, we acknowledged receipt of your notice on February 6, 2024.
Additionally, we shared your letter with the Department of Education (“Department”). The
Department has reviewed the issues raised in your letter and has provided the information below.

         First, Plaintiffs allege that the Department has failed to provide full settlement relief by
January 28, 2024, to class members who received loans to attend the institutions and locations
listed in Exhibit C of the Agreement. Plaintiffs’ allegations concern the failure to discharge the
relevant loan debt of these borrowers, the failure to issue full refunds to these borrowers, and the
failure to delete credit tradelines.

        The Department acknowledges that full settlement relief has not been implemented for all
borrowers who are entitled to such relief under Paragraph IV.A.1 of the Agreement by January 28,
2024. By way of background, 195,993 borrowers comprise Exhibit C class members. A total of
1,847,267 loans were determined as eligible for relief based on Exhibit C’s list of institutions and
locations. Once permitted to do so, the Department sent a total of 251,549 discharge requests to
the relevant servicers, accounting for all 195,993 Exhibit C borrowers. If a borrower had eligible
loans serviced by more than one servicer, the Department sent a separate request to each servicer.
If a borrower had a consolidation loan, the Department sent the request to the original servicer of
the underlying loan eligible for discharge based on Exhibit C, because that servicer would be able



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to initiate a series of transactions that would result in the discharge and payment of any refund and
would ultimately be reflected in the balance of the borrower’s consolidation loan.1

        As of January 2024, the Department, relying on the information reported by the servicers,
believed that 95% of Exhibit C borrowers had received full settlement relief. The Department
conveyed this understanding to you in a call on January 24, 2024. In that call, the Department also
referenced processing delays that were detected after discharge requests were fulfilled by the
servicer that initially received the requests—delays that appear to largely affect class members
with consolidation loans previously serviced by a since-decommissioned servicer. You mentioned
reports from borrowers consistent with such issues and raised concerns that the number of Exhibit
C borrowers who had not received full settlement relief was greater than 5% of Exhibit C
borrowers. Also during that call, the Department described its efforts to work from records in the
National Student Loan Data System (“NSLDS”) and class members’ current servicers to examine
and verify the status of Exhibit C borrowers’ discharges. Based on that work, the Department has
concluded that the numbers provided by the servicers do not account for the processing issues the
Department raised and, thus, did not accurately reflect the full state of some borrowers’ relief
status. Rather, as of February 15, 2024, the Department’s analysis of NSLDS records indicates
that:

    x    135,526 borrowers (approximately 69% of Exhibit C borrowers) have received fully
         processed discharges;
    x    31,437 borrowers (approximately 16% of Exhibit C borrowers) have not received fully
         processed discharges (of these, 3,581 borrowers have received fully processed discharges
         for some but not all eligible loans); and
    x    28,964 borrowers (approximately 15% of Exhibit C borrowers) require further
         investigation as to whether they have received fully processed discharges.2
    x    For the majority of the borrowers comprising the second and third bullet points, the
         discharge request has been fulfilled and the discharge is currently processing.

       Because the Department’s investigation is ongoing, and in light of the month-long delay in
the Department’s ability to issue discharge requests, the Department is not prepared at this time to




1
 This process differs for borrowers with FFEL loans. In those cases, relief is initiated by the borrowers’ loans being
paid through guaranty agencies.
2
  In addition, there are 66 borrowers who filed borrower defense applications against a school listed on Exhibit C but
do not have corresponding records in NSLDS. This is either because the applicant’s Social Security Number (“SSN”)
does not match a borrower record in NSLDS or because NSLDS does not show that the borrower had any loans
associated with the Exhibit C school on their application. Some possible explanations include that the SSN or OPEID
on the borrower’s application was entered incorrectly or that the borrower enrolled using a private loan or grant that
is not eligible for borrower defense. The Department would like to work with you to resolve any questions surrounding
these borrowers.

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issue a determination regarding material breach. The Department intends to supplement this letter
by March 1, 2024, regarding its material breach determination.

         As noted, the numbers reported above are based on the Department’s review of NSLDS
files, which record numerous attributes about a borrower’s loan(s), including loan status (i.e.,
open/closed), loan balance, and whether an original servicer has reported the fulfillment of a
request for borrower defense relief.3 NSLDS data thus indicate that borrowers fall into one of four
groups: (1) fully processed discharges for all eligible loans; (2) fully processed discharges for some
but not all eligible loans; (3) no discharges have been fully processed for eligible loans; and (4)
loans require further investigation. For specific types of loans, there may be additional indicia that
full settlement relief has been provided.

        Based on its investigation, the Department has identified three reasons that certain Exhibit
C borrowers have not yet received full settlement relief. These reasons accord with those that the
Department discussed with you on January 24. First, the Department has determined that certain
borrowers have highly complex consolidation loan histories that must be manually researched and
reconstructed to determine the appropriate discharge and/or refund amounts. Second, according
to the Department, the payment histories of certain borrowers are not readily available, such that
the servicers must reconstruct the borrower’s billing history from records that are often dated and
contained only in imaged PDFs. Third, the Department found that servicers have initiated the
relief process for certain borrowers, but that process has not been completed, likely because a
series of transactions must be executed across multiple servicers. In a small minority of cases, this
may also be due to coding errors or random processing glitches.

        The Department has been able to gather additional data about the types of loans for which
discharges have not been fully processed or that require further verification. The former includes
both consolidation loans and non-consolidation loans. Many of these loans have been consolidated
more than once. The discharge process for the majority of the affected consolidation loans appears
to have been initiated but not completed. For example, discharging a consolidation loan may
require a servicer to review records from the original loans’ lender or servicer and then coordinate
with other servicers for the discharge to be properly reflected in each of the subsequent
consolidations. This can be particularly time- and resource-consuming when the relevant loan has
been consolidated with loans that are not subject to a discharge pursuant to the Agreement.4 In


3
 For borrowers with FFEL loans, information related to the fulfillment of a borrower defense request is sent to the
Department rather than being directly updated to NSLDS.
4
  In some cases, the underlying loans in the consolidation include both loans eligible for discharge based on Exhibit
C, as well as loans that are not eligible for discharge based on Exhibit C. To adhere to the Agreement, the Department
has instructed servicers to discharge only that portion of the loan associated with Exhibit C. The servicers have
reported that this presents a logistical challenge, as they must obtain consolidation funding histories (which can be a
time-consuming process, assuming the histories can be located) and accurately calculate the amount of the current
consolidation loan eligible for discharge pursuant to the Agreement.


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attempt to locate additional payment information, which can take up to two hours per borrower.
The servicers have also asserted that many of the payment histories needed are over 20 years old
and the data may no longer be available.

        As to the deletion of tradelines, it is important to note at the outset that the Department
does not have a direct relationship with credit bureaus, nor does the Department furnish any
information to them. In addition, paragraph IV.F.1 of the Settlement Agreement provides that, in
regard to credit reporting, full settlement relief is provided when the Department or the servicers
have requested deletion of the tradeline for the relevant loan. The Department is not responsible
for any delays by the credit reporting agencies in implementing the deletion. The Department
timely directed servicers to request that the credit bureaus delete the relevant tradeline.
Nonetheless, the Department acknowledges that the relevant loan debt for some Exhibit C
borrowers has not yet been removed from their credit reports. Given the periodic nature of
servicers’ credit reporting, it is possible that the correct balances and tradeline deletion will be
reflected in the servicer’s next update to the credit bureaus. In addition, if a borrower’s
consolidation loan includes both eligible and non-eligible underlying loans, any tradelines
reflecting the underlying loans would be deleted but the tradeline corresponding to the
consolidation loan would only be updated to reflect a lower balance and would not itself be deleted.

        The Department is not aware of any instances of a servicer processing an Exhibit C class
member’s discharge in the servicer’s own accounts or records but failing to report that discharge
and corresponding updates to the credit bureaus. Regardless, the Department has requested that
servicers confirm they have requested credit updates for all discharges they have processed for
borrowers whose loans they currently service. Additionally, the Department’s efforts to resolve
the processing issues discussed in this letter should address the remaining updates needed for those
class members’ credit reports.

        Second, Plaintiffs allege that the Department has failed to provide complete quarterly
reports regarding the number of borrowers who have received full settlement relief. The
Department has provided three quarterly reports. Most of the data in the reports concern the status
of the “decision groups”—those class members receiving approvals and revise-and-resubmit
notices. That data is based on the Department’s own records (i.e., is not dependent on information
from servicers) and the Department is confident that the data regarding the decision groups are
accurate. Accordingly, the Department disputes that it is in material breach of its reporting
obligations. The Department does acknowledge, however, based on its recent investigation, that
Item No. 4 in each of the reports (data regarding class members who have received full relief under
Paragraph IV.A of the Settlement Agreement) has not been accurate. The data in Item No. 4 in
each of the three quarterly reports were based on the borrowers’ accounts having a borrower
defense discharge reported in FSA’s systems by the servicers. The Department believed the Item
No. 4 data were accurate not only as of the date the reports were transmitted to Plaintiffs, but until
late January 2024. The Department—having now confirmed that the information provided by the

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servicers for Item No. 4 did not accurately reflect the full state of some borrowers’ relief status—
agrees that Item 4 of each of the quarterly reports has not been accurate. Going forward, the
Department proposes that it send to you bi-weekly reports regarding the number of borrowers who
have received full settlement relief, including details regarding the steps taken to verify that
information, as well as information regarding the status of progress for borrowers who have not
yet received full settlement relief under Paragraph IV.A of the Settlement Agreement. For
example, such supplemental reports could include details such as those in Tables 1 and 2, above,
and additional agreed-upon details and indicators beyond those in the quarterly reports provided
in the Agreement.

        Third, Plaintiffs allege that the Department has materially breached the Agreement by
allowing servicers to bill and collect payments from members of the class whose debt is covered
by the Agreement. The Department believes that the overwhelming majority of class members
whose loans have not yet been discharged are in the appropriate forbearance or stopped collection
status and does not, therefore, agree that a material breach has occurred. As you note, the
Department has provided all loan servicers with a “Do Not Bill” list that identifies all class
members who should be in forbearance or in stopped collection status on their relevant loan debt.
The Department has instructed servicers that no one on the Do Not Bill list should be billed, and
that no one should be removed from the Do Not Bill list unless instructed by the Department, so
borrowers should not be inadvertently returned to repayment status. There may be situations in
which an individual employee of a loan servicer provides incorrect information to a borrower. The
Department believes that such situations are rare but is nonetheless committed to ensuring that
class members are in the appropriate status on their relevant loan. The Department will continue
to remind servicers that borrowers must be provided accurate information. If any borrowers made
payments because servicers incorrectly sent billing notices, the Department has either already
refunded such payments or will do so. To facilitate that effort, please provide us the names and
loan information for the 268 borrowers referenced in your letter. Furthermore, the Department is
willing to provide you regular updates on the status of these efforts.

         Fourth, Plaintiffs have requested certain categories of documents from the Department.
The Department is transmitting with this letter an updated version of the Sweet class list that
indicates, for each class member, whether the Department has classified them as a member of the
Exhibit C group or the decision group. As noted above, the Department is also willing to provide
bi-weekly reports to you regarding the number of borrowers who have received full settlement
relief, including details regarding the steps taken to verify that information. As noted below, the
Department is also willing to share updates based on weekly Sweet-specific reports provided by
the servicers. The Department would like to use the meet-and-confer process to better understand
how the other requested information will aid Plaintiffs’ efforts and explain the burden associated
with some of these requests.

                                         *       *       *

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        The Department acknowledges the importance of providing full settlement relief to
borrowers as promptly as possible. The Department shares your goal of discharging eligible loans
for Exhibit C borrowers and ensuring that they receive the refund to which they are entitled. The
Department wants to assure Plaintiffs that these issues have been brought to the attention of senior
agency officials, and those officials are regularly briefed on the status of the Sweet settlement
implementation. The Department’s leadership has conveyed the urgency of resolving these issues.
To that end, Department personnel are in contact with servicers on a daily basis and are requiring
servicers to provide multiple Sweet-specific reports each week (which the Department is willing
to share with Plaintiffs on a bi-weekly basis). The Department has also issued updated emergency
work orders to address the problem posed by processing delays and has requested an additional
$200,000 as an initial allocation to meet these efforts’ funding needs. Further, servicers have been
instructed to prioritize resolving Sweet relief and, specifically, relief for Exhibit C borrowers. The
Department is also evaluating its legal options with respect to the servicers, including ways to
enforce the servicers’ obligations to accurately report class members’ loan statuses to credit
bureaus.

       Additionally, more than a dozen Department personnel have been tasked with spending
most or all of their working hours on Sweet settlement implementation, with ten other staff
members devoting substantial time to that effort. A working group, consisting of personnel across
numerous offices and divisions, meets each day to evaluate the status of Exhibit C borrowers. The
team within FSA that interfaces with servicers to troubleshoot these issues has begun to
standardize the troubleshooting process and has taken initial steps to redirect other personnel
within FSA to be trained so they can assist going forward.

         As stated during the January 24 call, when the Department believed that full settlement
relief had been provided to 95% of Exhibit C borrowers, it anticipated completing full settlement
relief for the large majority of Exhibit C borrowers approximately by the end of February 2024,
and for a small remaining portion by approximately April 2024. Based on the current information,
the Department is unable to provide an estimate about when full settlement relief will be provided
to all Exhibit C borrowers. The Department intends to supplement this letter with an estimated
timeline by March 1, 2024.

       The Department deeply regrets that not all Exhibit C borrowers have received full
settlement relief. The agency looks forward to working with you over the ensuing meet-and-confer
process to address these issues. As you know, under the Agreement, the parties are to meet and
confer within 5 business days of this letter. We are available on the afternoons of February 23 and
February 26. Given that the Department expects to receive additional information throughout next
week, a meeting on February 26 may allow the Department to provide the most updated
information.




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                                           Sincerely,

                                           /s/Stuart Robinson

                                           Stuart Robinson

cc:     Eileen Connor
        Rebecca Eisenbrey
        Joe Jaramillo
        Noah Zinner




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                                                                              March 1, 2024

VIA E-MAIL

Stuart Robinson
Benjamin Takemoto
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, N.W.
Washington, DC 20005
Stuart.J.Robinson@usdoj.gov
Benjamin.Takemoto@usdoj.gov

Re:        Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)

Dear Stuart and Ben,

       We appreciated speaking with you and representatives of the Department of Education in our
meet & confer session on February 26, 2024. We are writing to follow up on issues we discussed at that
meeting.

    1.     Parties’ positions regarding the existence of material breaches

        First, as to Plaintiffs’ first allegation of material breach (failure to provide Full Settlement Relief
to all members of the automatic relief group by the January 28, 2024 deadline), our understanding is
that the Department agrees that a material breach has occurred with respect to undelivered discharges
and refunds. 1 As such, in our upcoming meet & confer sessions, we will seek to come to an agreement
on what actions the Department will take to rectify this breach, pursuant to Paragraph V.D.3.i of the
Settlement Agreement.




1
  The Department took the position that the existence of a material breach should be assessed as of March 1, 2024,
because implementation of the Settlement was delayed for four weeks after the Effective Date due to the
Intervenors’ then-pending motion for a stay. There is no language in the Settlement Agreement to support this
position. Nonetheless, the Department has acknowledged that it will not deliver Full Settlement Relief to all
automatic relief group members by March 1, 2024, so this disagreement is essentially academic. The Department
is and will be in material breach regardless.
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         The Department took the position that it has not materially breached the Settlement with
respect to the failure to deliver the third component of Full Settlement Relief, the deletion of credit
tradelines from Class Members’ credit reports. While we are cognizant that the Department does not
directly provide information to credit reporting agencies (“CRAs”), the Department does have a
responsibility under the Settlement to ensure that its servicers provide timely and accurate information
to the CRAs. As detailed below, we are interested in receiving additional information that could clarify
this situation.

    As to Plaintiffs’ second allegation of material breach (failure to provide “timely and complete”
quarterly reports), the Department admits that it did not provide an accurate accounting of how many
automatic relief group members have received Full Settlement Relief, but denies that this failure was
material. As we explained in our meeting, Plaintiffs do not agree. It is true that, due to the Department’s
history with the Form Denial Notices, the parties negotiated for the quarterly reports to contain more
detailed data regarding the decision group—but that does not mean that information about the
automatic relief group is immaterial. If Plaintiffs had known earlier that the Department was on track
to provide less than 70% of the required relief by the January 28 deadline, it certainly would have affected
our interactions with both the Department and Class Members in the months leading up to the
deadline.

    That being said, we appreciate the Department’s offer to provide more frequent and more detailed
reporting going forward. Subject to our receiving the further information detailed below, we are open
to negotiating an updated reporting process that could rectify this alleged breach.

    Finally, as to Plaintiffs’ third allegation of material breach (failure to maintain Class Members in
forbearance or stopped collection status), the Department took the position that no material breach has
occurred, apparently on the basis of its belief that any servicing errors are “rare.” As we detailed in our
meeting, and as we have explained to the Department in various calls and letters since October 2023,
this is not what we are hearing from our clients. We have, to date, provided the Department with
hundreds of names of Class Members whose servicers have tried to put them back into repayment or
have taken other adverse actions on their loans since the COVID payment pause ended. There appears
to be a major disconnect between what servicers are telling the Department and what they are telling
borrowers. As we agreed during our meeting, the parties here have a mutual interest in ensuring that
servicers are not giving out incorrect information about the Settlement.

    You also stated during our meeting that the Department’s position is that it is not liable for servicers
acting inconsistently with its instructions. Respectfully, we disagree. The Department cannot escape its
responsibilities under the Settlement simply by outsourcing these responsibilities to student loan
servicers and then disclaiming any liability for these servicers’ failures. Direct Loan servicers work for the
Department on loans that, ultimately, are held by the Department. When the Department gives its
contractors instructions—particularly instructions that relate to the correct implementation of a court-
approved settlement—it is squarely the Department’s responsibility to make sure those instructions are



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followed. The Department’s failure to oversee its contractors is not exculpatory. We continue to
maintain our third allegation of material breach.

    In sum, partial compliance with the Settlement is not compliance. Even the Department’s estimated
70% compliance—a likely overestimate, given the absence of data about refunds—does not help the
Class Members who live paycheck to paycheck, who are desperate to receive the relief they were
promised, and who are facing a multitude of harms from ongoing collection and reporting on debt that
they no longer owe.

     By our calculation, if the parties are unable to reach consensus regarding the alleged breaches and
the steps that the Department will take to rectify them, Plaintiffs would be authorized to file a motion
for enforcement on or after March 19, 2024 (as to an acknowledged material breach) or March 27, 2024
(as to a disputed material breach).

 2.     The Department’s commitments to provide additional information

     In your letter of February 16, 2024, and during our meeting, the Department committed to
providing Plaintiffs with certain information. This information is relevant to the Department’s meet &
confer assertion that it is attempting in good faith to comply with the Settlement terms notwithstanding
its failure to deliver required relief to a significant number of class members. This information includes:

        x   Copies of change requests and other instructions provided to servicers with respect to
            implementing the Settlement. This category will specifically include, but not be limited to:

                o Instructions to “original” loan servicers relating to how to handle consolidation
                  loans (i.e., what these servicers were told to do in order to “initiate [the] series of
                  transactions that would result in the discharge and payment of any refund” on the
                  consolidation loan).

                o Instructions to servicers regarding credit tradeline deletion, and/or any other
                  information they should or should not provide to CRAs, with respect to Sweet-
                  eligible loans.

        x   Summaries of what the Department has instructed servicers to do and how that corresponds
            to back-end inquiries that the Department is undertaking in NSLDS. (We understand this
            offer to be responsive to our request in our February 2, 2024 letter for documents showing
            the “verification processes that FSA uses to confirm that servicers are accurately reporting
            whether relief has been ‘effectuated’ for a particular Class Member.”)

        x   A summary of data, similar to the bullet-point list on page 2 of your letter of February 16,
            showing how many and what percentage of the automatic relief group have (i) received the
            full refund amount to which the Department believes they are entitled; (ii) received some,
            but not all, of the refund amount to which the Department believes they are entitled; (iii)


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                 have been determined by the Department to be owed no refund; and (iv) require further
                 investigation as to their refund status. 2

             x   Copies of all Sweet-specific reports transmitted to the Department by servicers.

             x   Bi-weekly reports detailing the number of borrowers who have received Full Settlement
                 Relief, including details regarding the steps taken to verify that information, as well as
                 information regarding the status of progress for borrowers who have not yet received Full
                 Settlement Relief.

We request that the Department deliver this information by Friday, March 8, 2024.

        The Department also asked which other indicators would be helpful for it to share in reports
going forward, in addition to the data categories included in the tables in your February 16 letter. We
would request the following:

         x   Additional information regarding FFEL loans for the automatic relief group—specifically, (i)
             how many Class Members in the automatic relief group had or have FFEL loans eligible for
             settlement discharge; (ii) how many of those Class Members have received a full discharge of all
             eligible FFEL loans; (iii) how many have received a partial discharge of some, but not all, eligible
             FFEL loans; (iv) how many have not received their FFEL discharge yet; and (v) how the
             Department is verifying the successful discharge of FFEL loans.

         x   All information provided by servicers to the Department regarding their progress in updating
             credit tradelines for automatic relief group members.

         x   The number of complaints the Department has received from Class Members regarding
             servicers demanding payment or taking other adverse actions (including, for example, inaccurate
             reporting to CRAs) on their Sweet-eligible loans.

    3.       Timeline

    In order to come to any consensus on how the Department might rectify its material breaches of the
Settlement Agreement, we will require the Department to commit to a strict and near-term deadline by
which all Class Members in the automatic relief group will receive their Full Settlement Relief—with
no exceptions. If meeting this deadline means that the Department will have to take certain steps that
favor borrowers—for instance, discharging the full balance of consolidation loans where servicers are
unable to calculate the portion of the balance attributable to Exhibit C loans, or refunding all prior



2
  In our meeting, you stated that the Department does not have information about when refund checks are
actually mailed to borrowers from the Treasury Department, but does have “indicators” of “where people are in
the [refund] process.” We understand that the data provided will be subject to this limitation.


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payments where servicers are unable to apportion payments among Sweet and non-Sweet loans—then
so be it.

     It is simply unacceptable for the Department to state, as it did in its letter of February 16, that it is
“unable to provide an estimate about when full settlement relief will be provided to all Exhibit C
borrowers.” This case is, at its core, about the Department’s interminable delay in resolving borrower
defense applications; the Class will not tolerate yet another open-ended period of delay. Here are just a
few examples of Class Members we have heard from since the Department violated the January 28
deadline, who are currently suffering hardships because the Department has once again failed to meet
its legal commitments:

        x   “So far, I have only received a discharge for the largest of my three loans for The Art
            Institute. . . . MOHELA has been wholly uncooperative every time I’ve called them. . . . I
            am currently being treated for cancer and have received a cancer treatment deferral, but had
            I not filled out that form and had my doctor sign it, they would be requiring me to make
            payments on my loans which should have been discharged. This is causing huge amounts of
            stress for me and is not helping my current health conditions.” - Regina, KS, Art Institute

        x   "Technically my loans have been discharged due to my participation in the PSLF program.
            But I am still a class member and am due a refund. My loans were discharged the week
            FedLoan stopped servicing loans. I was told I would be transferred to MOHELA, but they
            had no record of me. I was/am in no man's land. . . . [I] called the BD hotline and was given
            one answer, then called a loan servicer provider and they gave me a totally different answer.
            I nearly completed suicide over these loans over a decade ago. Now the absolute utter
            onslaught of stress that has ensued is damaging my health. It is failing, rapidly. I’m told if I
            perish before the elusive and mystical check arrives, it cannot be transferred to my heir. This
            whole situation has taken DECADES off of my life and should be listed as a contributing
            factor in my cause of death.” - Summer, FL, Florida Coastal School of Law

        x   “I am a single parent of a disabled adult child. My education was to make it possible to
            support my child on my own, but the school misled me, and my education didn’t lead to
            the career I was told it would. I am now 56 years old. My son is 23. I live with my ex’s mother,
            who is 95. If she passes away, I have no place to live. I have been working hard to save money
            to buy a home for my son and I and we actually CAN afford a place in a lower-income area
            - but only after my loans are gone, as my student loan balances impact the amount I can
            borrow toward a home loan. I have told my ex’s mother that she is not allowed to die till my
            loans are gone, so I can afford to buy a home for my son and me without the impact of the
            loans affecting the amount I can borrow. She said she’ll do her best, but at 95 I can only
            expect so much. I was so hopeful that this would be taken care of by 01/28/2024, but that
            is obviously not the case. I am very anxious." - Mary, CA, Brooks Institute




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       x   “I am going to PERMANENTLY lose the opportunity to become a federal law
           enforcement officer because of MOHELA’s settlement violations. . . . I had 7 months to
           complete the background. MOHELA's failure to discharge my loans will permanently deny
           me an opportunity I have worked 10+ years for. I don’t get a do-over. I don't get an
           extension. I have one shot and MOHELA stole it. . . . I want my settlement relief. Nothing
           more nothing less. . . . They are causing me to appear as a financial liability and MOHELA
           refuses to remove erroneous information which reports my loans are delinquent. This could
           permanently disqualify me from ever working for an agency in any capacity. This is not fair.
           This is my life. . . . I’ve opened no less than 5 cases. I’ve sent 50 messages warning MOHELA
           of the dire consequences of violation. This is not fair, and it is unjust. Please make them
           enforce the settlement. Timely. I don't have time to wait.” - Mallory, TN, Arizona Summit
           Law School

       x   “"This is something that has been dragging on for five years as of today. I have literally spent
           hours on hold and dealing with Nelnet trying to get this taken care of. Now my account is
           showing I am in repayment even though I was assured I was in forbearance until February.
           I just want this resolved. It weighs on me, not knowing what to do. Should I pay on the loan
           to mitigate interest and protect my credit score? Should I just sit and wait for the powers-
           that-be to do what they have promised? Should I yell to the mountaintops? It feels like I
           have a huge debt hanging over me that could drop back down on me. The last payment I
           made on the account was in 2022, but I have had about $1000 in ‘payment’ show up on the
           account. I am not sure if this was money that was supposed to be sent in refund or what the
           story is regarding that money. I have not been able to get any clear answers from Nelnet.” -
           Cynthia, GA, University of Phoenix

       x   “I was taken off of admin forbearance and it has been a struggle just to get put back on it
           and frustration due to the fact that every person I seem to talk to at MOHELA acts like they
           do not know about this lawsuit. They act like they don’t have the information in their
           system sent from the Borrowers Defense department. Even speaking with people at the
           Borrowers Defense department on the phone and FSA department. No one has been really
           helpful and more than anything I have been lied to more than I can count.” - Tuwanna,
           WA, University of Phoenix

       x   “I am unable to buy a home due to this large amount on my credit. I have since had to move
           back to Massachusetts and sell my home in Florida due to medical reasons. I could not
           purchase again in MA due to these loans. Due to this, my rent is now over twice what my
           old mortgage was. I am a single mom working four jobs. Argosy promised a successful career
           in my field and I do not have one in that field. I had to pave my own way in another.” -
           Pamela, MA, Argosy

    We look forward to receiving a proposal for a more specific timeline, as you promised in your letter
of February 16.


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        Thank you for your attention to this matter.




                                                       Sincerely,




                                                       Rebecca Ellis
                                                       Eileen Connor
                                                       Rebecca Eisenbrey
                                                       Noah Zinner
                                                       PROJECT ON PREDATORY STUDENT
                                                       LENDING

cc:     Joe Jaramillo




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                                                            United States Department of Justice
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    Stuart Robinson                                         (415) 436-6635
    Senior Counsel                                          stuart.j.robinson@usdoj.gov

                                                            March 1, 2024


Rebecca Ellis
Project on Predatory Student Lending
769 Centre St.
Boston, MA 02130

Re:      Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)

Dear Rebecca:

       We write to supplement our letter to you dated February 16, 2024, regarding Plaintiffs’
February 2, 2024 allegations that Defendants are in material breach of the Settlement Agreement.1

        In our letter, the Department of Education (“Department”) acknowledged that full
settlement relief has not been implemented for all borrowers who are entitled to such relief under
Paragraph IV.A.1 of the Agreement by January 28, 2024. The Department further explained that
because its investigation is ongoing, and in light of the month-long delay in the Department’s
ability to issue discharge requests, the Department was not prepared at that time to issue a
determination regarding material breach. The Department can now confirm that it agrees with
Plaintiffs that, for borrowers who are entitled to, but have not yet received, full settlement relief
pursuant to Paragraph IV.A.1, the Department is in material breach of the Agreement.

        The Department remains optimistic that the parties can reach a consensus on the
appropriate action to resolve the breach. The Department continues to work urgently to more
reliably determine the status of class member relief, to investigate the circumstances of class
members who have not received timely relief, and to resolve issues so that class members receive
relief as quickly as possible. As an integral part of that work, the Department also continues to
engage with servicers, including by instructing them to prioritize resolving Sweet relief
(specifically, relief for Exhibit C borrowers), and by working to implement an emergency change
request to address these issues. A key priority in that work is to reliably identify a timeline for

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 We acknowledge receipt of your additional correspondence received today and will respond separately at a later
date.

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resolving these issues and for providing class members timely relief. Due, in part, to the need to
finalize certain instructions and details with the servicers, the Department cannot reliably identify
that timeline at this time, but it remains an urgent priority and we will provide it as soon as the
Department can reliably do so.

       Additionally, and as referenced in our prior letter and call, the Department is willing to
provide the following non-privileged documents to you during this cooperative meet and confer
process in an effort to reach consensus on the path forward:

           x   Copies of the change requests issued to federal student loan servicers and
               instructions issued to commercial FFEL servicers regarding implementation of the
               Sweet settlement;

           x   Narrative descriptions or representative samples of communications from federal
               student loan servicers to FSA, and from FSA to federal student loan servicers,
               regarding progress toward effectuating full settlement relief for those Exhibit C
               borrowers who have not received such relief by February 28, 2024;

           x   Narrative descriptions or representative samples of documents showing the
               processes that FSA uses to confirm the status of effectuating full settlement relief
               for those Exhibit C borrowers who have not received such relief by February 28,
               2024; and

           x   Complaints received by Federal Student Aid, including the Federal Student Aid
               Ombudsman’s Office, from individuals who—through an agreed-upon process—
               can be identified as Class Members entitled to automatic discharges.

            Your February 2, 2024 letter also requested the “2/28/2023 Sweet cohort 1 file.” This
   file refers to those class members entitled to automatic discharges, and that list was provided
   to you on February 20, 2024. Your letter also requested an updated version of the class list to
   indicate inclusion in either the automatic discharge group or in the streamlined review decision
   group. The updated class list is reflected in the spreadsheet provided on February 20, 2024.
   Although not requested, the revised version of the class list also breaks down the streamlined
   group into subgroups indicating the date by which decisions are due.

            Finally, you also requested “a list of the approximately 11,700 Class Members whom
   the Department has identified as not receiving their Full Settlement Relief by the January 28
   deadline, including notation of whether each Class Member is awaiting a discharge, a refund,
   or both.” The Department is willing to provide you a list that identifies, based on agreed-upon
   criteria, eligible class members who have not received full settlement relief as part of the
   regular reporting updates the Department has indicated it will provide.


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           We look forward to your response.

                                                   Sincerely,

                                                   /s/Stuart Robinson

                                                   Stuart Robinson

cc:     Eileen Connor
        Rebecca Eisenbrey
        Joe Jaramillo
        Noah Zinner




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                                                      United States Department of Justice
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                                                      Washington, DC 20044


 Benjamin T. Takemoto                                 (202) 532-4252
 Trial Attorney                                       benjamin.takemoto@usdoj.gov

March 8, 2024

Rebecca Ellis
Project on Predatory Student Lending
769 Centre St.
Boston, MA 02130

Re: Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)

Dear Rebecca,

We write to respond to your March 1, 2024, letter, which followed the parties’ conference
regarding Plaintiffs’ allegations of material breach. In your letter, you indicated that Plaintiffs are
open to resolving the allegations of material breach related to the Department of Education’s
quarterly reports. The parties further discussed this issue during the March 5, 2024, meet and
confer. Consistent with that meet and confer, the Department proposes that the parties resolve the
alleged breach regarding the submission of quarterly reports through Defendants’ (1) provision of
information described on page 2 of our March 1, 2024, letter, which far exceeds the relief that the
court can order pursuant to Section V.B.3 of the Settlement Agreement; and (2) consideration of
class membership for individuals referenced in your March 1, 2024, letter—the five borrowers
who submitted paper borrower defense applications and are in the post-class group, as well as the
borrowers who state that they experienced technical difficulties in submitting a borrower defense
application—based on additional materials submitted by those borrowers.

With respect to (1), the Department proposes to establish a process by which Plaintiffs can submit
questions and the Department will provide responses according to an agreed-upon timeframe. This
may include general questions about settlement implementation, requests for lists or files regarding
class membership, and questions regarding individual class members (or groups of class
members). As discussed during our March 5 meet and confer, the Department is enclosing its list
of questions transmitted and issues raised by Plaintiffs since January 2024. The Department has
included responses to some questions, is working to respond to others, and invites you to add other
questions you have. The Department proposes that we meet and confer again in the coming week
and agree upon a schedule and process for the production of records and a schedule for future
questions and responses.

With respect to (2), as we discussed during our March 5 meet and confer, the Department is
amenable to giving borrowers who assert that they should be class members the opportunity to



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provide evidence in support of that assertion. The Department would like to discuss a process for
making those determinations. As part of that discussion, the Department would like to
communicate some of the conditions that will facilitate agreeing to that process. First, the universe
of borrowers for whom the Department will consider evidence in support of class membership is
limited to the names on the spreadsheets Plaintiffs have already provided on March 6, 2023, June
14, 2023 and July 18, 2023. Second, the Department’s agreement to expand the class under the
conditions described herein resolves the Plaintiffs’ assertions in their February 14, 2024, letter that
the Department is in material breach of the reporting requirement. In addition, the Department
looks forward to discussing with you the following matters on this topic: proposed criteria and
forms of evidence for demonstrating that an individual should be treated as a class member; the
means of communicating these criteria to the relevant individuals; a timeline for resolving the issue
of class-member status for these individuals; and a timeline for providing appropriate relief to
newly added class members.1

As to Plaintiffs’ allegations regarding the failure to maintain class members in forbearance or
stopped collection status, Plaintiffs do not dispute that the Department has instructed servicers to
maintain a Do Not Bill List. Rather, Plaintiffs assert that the Department is “liable for servicers
acting inconsistently with its instructions.” But the Settlement Agreement expressly provides that
“Defendants shall not be liable based on events outside of Defendants’ control, including but not
limited to a situation where a third party, such as an employer, undertakes debt collection activities,
such as wage garnishment, inconsistent with Defendants’ instructions that collection activity
cease.” Settlement Agreement ¶ V.B.4.ii. Among the list of questions that the Department is
addressing is your request for details about how servicers are carrying out the Department’s
forbearance-related instructions to them and potential ways of verifying that they are complying
with those instructions.

Plaintiffs also raise the issue of the Department’s timeline for effectuating full settlement relief for
those Exhibit C borrowers who have not yet received such relief. Unfortunately, the Department
does not yet have additional information beyond that provided in our March 1, 2024, letter. We
will notify you as soon as we have additional information. Plaintiffs suggested that the Department
accelerate the timeline by “discharging the full balance of consolidation loans where servicers are
unable to calculate the portion of the balance attributable to Exhibit C loans, or refunding all prior
payments where servicers are unable to apportion payments among Sweet and non-Sweet loans.”
That is not authorized by the settlement agreement, which limits the relief for this material breach
to a court order requiring ED to provide full settlement relief to each affected individual on a
schedule set by the court.




1
  “Appropriate settlement relief” means “Full Settlement Relief” (as that term is defined in the
Settlement Agreement) in the case of class members entitled to automatic discharges or a
streamlined decision for class members not getting automatic discharges.


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Finally, Plaintiffs indicate that they may file a motion to enforce on March 19 or 27, 2024. The
Department remains optimistic that the parties can narrow the issues in dispute. Should Plaintiffs
feel compelled to seek relief from the court, we respectfully ask that you confer with us on a
briefing schedule.


                                                    Sincerely,
                                                            y,


                                                    BENJAMIN T. TAKEMOTO




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                                                                         March 13, 2024

VIA E-MAIL

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Benjamin.Takemoto@usdoj.gov

Re:     Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal.)

Dear Stuart and Ben,

         Thank you for meeting with us on March 5, 2024, and for your letter of March 8, 2024. We
write to respond to your most recent proposals and address other outstanding issues regarding our
allegations of settlement breach.

 1.     Breach of Section IV.A.1 (timely effectuation of Full Settlement Relief)

         As we have discussed previously, the Department concedes that a material breach has occurred
with respect to the Department’s failure to deliver Full Settlement Relief to all members of the automatic
relief group by the deadline of January 28, 2024.

        In your March 8 letter, you stated again—as you did in your letter of March 1, 2024—that the
Department cannot give an estimate of when the effectuation of this relief will be complete. As you
know, this uncertainty is not tolerable for Class Members who have already been waiting, and in many
cases suffering serious consequences, for the past six weeks. We are and have been open to reaching
consensus with the Department, but we cannot do so without a firm timeline for curing the breach.

       At this time, our intention is to file a motion to enforce the Settlement Agreement with the
court on March 19, 2024. Before doing so, we propose the following terms for your consideration:
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             1) The Department and its servicers will complete the effectuation of Full Settlement
                Relief, as defined in Section IV.F.1 of the Settlement Agreement, 1 for all members of
                the automatic relief group by May 31, 2024 (approximately four months after the
                original deadline).
                    a. Per Section IV.F.1(1)’s specification that Full Settlement Relief shall include
                         “discharging any interest that accrued while the borrower defense application
                         was pending,” the Department and its servicers shall, if applicable, discharge all
                         interest that has accrued since September 1, 2023, on automatic relief group
                         members’ Direct Consolidation Loans that include Relevant Loan Debt
                         (regardless of how such interest may have been apportioned between Relevant
                         Loan Debt and non-Sweet consolidated debt).
                    b. If a Class Member’s discharge and/or refund would be delayed past this deadline
                         because of complications relating to consolidation loan accounting, the
                         Department will discharge the entire consolidation loan and/or refund all
                         payments made on the consolidation loan in full, as applicable. 2 (Note, this
                         process would not waive the Class Member’s right to receive a refund of any
                         payments made to the Department on the Relevant Loan Debt prior to
                         consolidation.)

             2) The Department will provide Plaintiffs’ Counsel with regular reports on its progress
                toward completing the effectuation of relief. These reports will be delivered every 14
                days, starting on March 22, 2024, and concluding on May 31, 2024.

             3) The reports will include (but, at the Department’s discretion, need not be limited to)
                the numbers of Class Members in the automatic relief group who:
                    a. Are confirmed to have received each of the following categories of relief:
                            i. Discharges of all Relevant Loan Debt;
                           ii. All refunds to which they are entitled; and




1
  As the Department is aware, “Full Settlement Relief” is defined as “(i) discharge of all of a Class Member’s
Relevant Loan Debt, (ii) a refund of all amounts the Class Member previously paid to the Department toward
any Relevant Loan Debt (including, but not limited to, Relevant Loan Debt that was fully paid off at the time
that borrower defense relief is granted), and (iii) deletion of the credit tradeline associated with the Relevant Loan
Debt.” Agreement § II.S. Full Settlement Relief has been “effectuated” when “Defendants . . . and their loan
servicers” have “taken all steps necessary to” discharge the Relevant Loan Debt, discharge any associated interest
“that accrued while the borrower defense application was pending,” issue a refund check (or checks) if applicable,
and request the deletion of the relevant credit tradeline. Agreement § IV.F.1.
2
 In your March 8 letter, you asserted that the Court could not order the Department to take this step. Without
conceding the substance of that assertion, we simply point out that the strategies the Department may use to meet
the deadline are, at this point at least, still within the Department’s control.


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                     iii. A request sent from their current loan servicer(s) to all credit reporting
                          agencies to remove the credit tradeline for all Relevant Loan Debt
                          from their credit reports.
            b.   Are confirmed to have not received each of the following categories of relief:
                       i. Discharges of all Relevant Loan Debt;
                      ii. All refunds to which they are entitled; and
                     iii. A request sent from their current loan servicer(s) to all credit reporting
                          agencies requesting removal of the credit tradeline for all Relevant
                          Loan Debt from their credit reports.
            c.   Have not had their relief status confirmed by the Department as to each of the
                 following categories of relief:
                       i. Discharges of all Relevant Loan Debt;
                      ii. All refunds to which they are entitled; and
                     iii. A request sent from their current loan servicer(s) to all credit reporting
                          agencies requesting removal of the credit tradeline for all Relevant Loan
                          Debt from their credit reports.
            d.   For Class Members in categories (b) and (c), including all subcategories, how
                 many Class Members are serviced by each of the federal loan servicers.
            e.   For Class Members in categories (b)(i) and (c)(i), how many are confirmed by
                 the Department to currently have their Relevant Loan Debt (including
                 consolidation loans that contain Relevant Loan Debt) in a status of forbearance,
                 stopped collections, or $0 monthly payments under any of the available income-
                 driven repayment plans.
                       i. For any Class Members in categories (b)(i) and (c)(i) who are not
                          currently in such status, how many of them are serviced by each of the
                          federal loan servicers.

     4) The reports will also include a description of the steps the Department has taken to
        verify that these reported numbers are accurate.

     5) That description and the veracity of the data will be attested to under oath by a senior
        Department official, such as the Chief Operating Officer of Federal Student Aid or
        another senior official with supervisory authority over the process of effectuating
        Settlement relief.

     6) At Plaintiffs’ request, the Department will provide the names, contact information, and
        current servicer of Class Members in any of the above categories so that Plaintiffs can
        provide updated information directly to Class Members and/or seek confirmation of
        their relief status.

     7) If the Department fails to deliver Full Settlement Relief to all members of the automatic
        relief group by May 31, 2024, Plaintiffs will bring a motion to enforce pursuant to


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                Section V.B.2 of the Settlement, and Defendants will not oppose that motion and will
                not oppose the awarding of reasonable attorneys’ fees to Plaintiffs.

        Please let us know your position on this proposal as soon as possible, so that we can determine
whether compromise might be possible. In the alternative, we are happy to discuss a briefing schedule
for our motion to enforce.

 2.     Alleged breaches of Section IV.G (reporting requirements)

         On this point, we see a path to consensus based on our discussions so far. Below we set forth our
understanding of the parties’ current positions with respect to Plaintiffs’ two major sets of reporting-
related allegations, and specify what further steps we see as necessary to reach agreement.

            a. Inaccuracy of past reports/failure to verify servicer data

        With respect to Plaintiffs’ allegations that past post-settlement reporting was inaccurate, the
Department took the step of including an “Addendum” to its Fourth Quarterly Report, which
acknowledges that past reports of “effectuated” relief numbers were not accurate and provides current
numbers that reflect additional verification efforts. Plaintiffs appreciate this effort to publicly correct
the record.

        The Department has also agreed to provide Plaintiffs with various categories of documents that
will help to clarify a number of issues surrounding these allegations, including the implementation
instructions provided by the Department to servicers, the Department’s verification processes, and
complaints that the Department has received from Class Members. See DOJ Letter dated Mar. 1, 2024,
at 2. Again, we appreciate the Department’s openness on this issue.

       In our March 5 meet-and-confer call and the Department’s subsequent March 8 letter, the
Department also proposed that it would “establish a process by which Plaintiffs can submit questions
and the Department will provide responses according to an agreed-upon timeframe.” Plaintiffs are
amenable to this process.

        In our view, we could reach consensus regarding this set of alleged breaches once we agree on
the applicable timelines. For the documents described in the Department’s March 1 letter, Plaintiffs are
open to a rolling production, but we propose that all documents be delivered by March 29, 2024.

        For the question-and-answer process, we propose the following schedule: Plaintiffs will provide
their updates to the initial question list (attached to your March 8 letter) by March 20, 2024. The
Department will produce its first set of answers on April 3, 2024. Plaintiffs will provide an updated list
of questions on April 10, 2024. The parties will thereafter continue on this cadence, with the
Department having two weeks to provide each set of answers and Plaintiffs having one week after that
to provide the next set of questions.



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            b. Exclusion of eligible individuals from total numbers of reported Class Members

         In Plaintiffs’ letter of February 14, 2024, we identified four categories of borrowers who, we
alleged, were being miscounted in the Department’s reports of the number of Class Members: (i)
borrowers prevented from submitting timely BD applications by the Department’s technical failures;
(ii) borrowers whose paper applications were lost or improperly processed; (iii) Class Members who paid
off their federal loans via private refinancing; and (iv) “missing” decision group Class Members, i.e.,
those who had been previously counted in the decision group and then were apparently re-classified in
the Second Quarterly Report as having received relief through some other channel.

        With respect to group (iii), the Department stated in its letter of February 28, 2024, that—
contrary to our previous understanding—“class members who privately refinanced or paid off their
loans after filing a BD application are class members and will receive full relief” (emphasis in original).
We appreciate this clarification and are satisfied on this point, provided we do not learn in the future
about any problems with relief effectuation for these Class Members.

       With respect to group (iv), we are amenable to the Department’s proposal that we resolve these
questions through the question-and-answer process discussed above, provided we can agree on an
acceptable schedule.

        With respect to groups (i) and (ii), in your March 8 letter you set forth several proposals for a
process to establish class membership for these borrowers. Our responses to those proposals are as
follows:

        First, the Department proposes that “the universe of borrowers for whom the Department will
consider evidence in support of class membership is limited to the names on the spreadsheets Plaintiffs
have already provided on March 6, 2023, June 14, 2023 and July 18, 2023.” We do not agree to this
condition. A borrower’s status as a Class Member should be based on what actually happened to them
when they tried to apply for borrower defense, not whether they happened to contact Plaintiffs’
Counsel about this issue during a particular time window. At the very least, individuals who contacted
the Department to inquire about their class membership status or because of difficulty filing a BD claim
prior to the Settlement’s Effective Date ought to be included.

         Second, the Department proposes that its agreement to reclassify certain borrowers, under the
procedures agreed to in this meet-and-confer process, will resolve Plaintiffs’ assertions in their February
14, 2024, letter that the Department is in material breach of the reporting requirement. Plaintiffs agree
to this proposal.

         Third, the Department leaves open to further discussion the following topics: (i) proposed
criteria and forms of evidence for demonstrating that an individual should be treated as a class member;
(ii) the means of communicating these criteria to the relevant individuals; (iii) a timeline for resolving
the issue of class-member status for these individuals; and (iv) a timeline for providing appropriate relief
to newly added class members. We are happy to discuss these issues with you. As an initial matter, our

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position is that a declaration under oath should be considered sufficient as a “form of evidence,” with
no requirement of independent extrinsic evidence such as screenshots—which it is likely many
borrowers did not take, or did not save over the past two years.

    3.     Servicer violations

         With respect to the various failures of student loan servicers in connection with implementation
of the Sweet settlement (e.g., failing to properly maintain Class Members in forbearance or stopped
collection status, sending bills to Class Members purporting to collect on loans they do not owe,
providing misinformation about the Settlement, etc.), we do not believe that Section V.B.4.ii of the
Settlement absolves the Department of responsibility. The servicers are not unrelated “third part[ies],
such as an employer,” id.—they are federal contractors, answerable to the Department and purportedly
working under the Department’s supervision. When the servicers fail to perform their duties according
to the terms of their contracts, the Department can take—and recently has taken—corrective action. 3 If
the servicers have falsely represented to the government that they are doing their jobs, when in fact they
are not, then they have potentially made false claims against the public fisc. They are also potentially
liable for injuries to Class Members caused by their failure to follow Department directions. As class
counsel, we are duty bound to explore this possibility.

         However, it is ultimately the Department’s (and the Department of Justice’s) responsibility to
make sure that the Settlement is implemented according to its terms. The Settlement explicitly
establishes that “effectuat[ing] relief” means the Department will exercise oversight of its servicers to
make sure that Full Settlement Relief actually reaches Class Members. See Settlement § IV.F.1
(“Defendants have effectuated relief for purposes of Paragraph[] IV.A . . . when they and their loan
servicers have taken all steps necessary to discharge the Relevant Loan Debt of the Class Member . . . .”
(emphasis added)).

                                                       ***

           We look forward to continuing our discussions. Thank you for your attention to this matter.




3
  See, e.g., Press Release, “U.S. Department of Education Announces Withholding of Payment to Student Loan
Servicer as Part of Accountability Measures for Harmed Borrowers” (Oct. 30, 2023),
https://www.ed.gov/news/press-releases/us-department-education-announces-withholding-payment-student-
loan-servicer-part-accountability-measures-harmed-borrowers; Press Release, “Biden-Harris Administration
Announces Framework for Student Loan Servicer Accountability To Protect Borrowers Nationwide” (Nov. 9,
2023), https://www.ed.gov/news/press-releases/biden-harris-administration-announces-framework-student-
loan-servicer-accountability-protect-borrowers-nationwide.


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                                          Sincerely,




                                          Rebecca Ellis
                                          Eileen Connor
                                          Rebecca Eisenbrey
                                          Noah Zinner
                                          PROJECT ON PREDATORY STUDENT
                                          LENDING

cc:     Joe Jaramillo




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